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Charles Schwab
CONFIDENTIALITY, NONSOLICITATION AND ASSIGNMENT AGREEMENT

Charles Schwab & Co., Jnc., its parent companties} and/or its/their subsidiaries, affiliates, foint venturers, and successors
(collectively, “Schwab” or the “Company” desires to protect its Confidential Information (as more fully deseribed and
defined in Paragraph 1, below), to maintain and protect the confidential and/or proprietary nature of such Confidential
Information, and to protect against the unauthorized use of such Confidential Information. In consideration for my at-will
employment with Schwab and in consideration for the compensation paid and to be paid to me and the receipt of other
benefits by Schwab, the receipt and adequacy of which 1 acknowledge and agree, I am willing to enfor into this
Confidentiality, Nousolicitation and Assignment Agreement (this “Agreement’) to provide and facilitate the protection of
Schwab Confidential Information during and after my employment with the Company in accordance with the terms and
conditions set forth below.

I. (a) L acknowledge and agree that during and related to my employment with Schwab, I will obtain, have access to,
and/or be exposed to certain information that is confidential and/or proprietary to, and/or trade secrets of Schwab
(collectively, “Confidential Information”). 1 waderstand that such Confidential Information may be in sny form, and
will include all copis, reproductions, summarics, analyses or extracts thereof, based thereon or derived therefrom, and
which is the sole and exclusive property of Schwab. Confidential Information may include, but not be limited to:

@ Confidential information about previous, current and/or contemplated products and services, confidential
know-how, techniques, computer passwords, computer software designs, and hardware configurations,
and confidential training materials, policies and procedures, and research projects;

(ii) Market, finanolal, wade, and sales information and data, pricing, financial modcls or formulae, business
plans, financial and business forecasts and estimates, account valuation, and information about costs and
profits;

(ti) The identities of Schwab oustomers or Prospective Customers, as defined in Paragraph 6 (including but
not limited to, names, addresses, telephone numbers and/or social security numbers), any account,
personal, business, financial and other information pertaining to such oustomers or Prospective
Customers, Sohwab customer or Prospective Customer lists in any form, and any information related to
the assets and obligations carried in an account by a Schwab customer, a customer’s positions, and/or
account valuation;

(iv) Account, personnel or financial information pertaining to current and former employees of Schwab,
business, financial, and other information pertaining to Schwab's vendors and independent contractors,
and any lists of such employees, vendors and/or independent contractors;

~ All Developments, as defined in Paragraph 5 below, and all information that relates to said
Developments; and/or

(vi) All information which Schwab has a legal obligation to treat as confidential, or which Schwab trents as
proprictary or designates a8 confidential or for internal use only, whether or not owned or developed by
Schwab.

(b) “Trade secret,” as used jn this Agreement, shall mean, without limitation, any technical or non-technical data or
other business information, which (i) derives economic value, actual or potential, from not being generally known to,
and uct being readily ascertainable through proper means by, other persons who oan obtain economic value from its
use; and (ii) is the subjeot of reasonable efforts on the part of Company to maintain its scoreoy.

(c) Notwithstanding the definition in Paragraph 1 hereof, Confidential Information shall not include any information
that is in its protected form () in the public domain through no fault of an employee of Schwab or otherwise, (ii)
readily and accurately discemable from publicly-available products, literature or other information, or (iii) approved
for disclosure by prior written permission of an authoxized senfor or executive officer of Schwab spectfically
designated by Schwab fo give such authorization as required hereunder (‘Authorized Officer’).

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2. JT acknowledge that such Confidential Joformation has been developed by or on bebalf of Schwab or licensed by
Schwab at great expenditure of both financial and human tesources and that such Confidential Information may be
unique and not capable of being duplicated, or may only be acquired by significant expense. T acknowledge and agree
that Schwab owns or licenses all such Confidential Information and that such information Is entrusted to me for the
sole and exclusive purpose of enabling me to conduot the business of providing brokerage and financial advice to
customers and Prospective Customers (the “Business”) on behalf of Schwab. I further understand that Schwab desires
(or is under a Iegal obligation, in the case of information owned by others) to protect such information's confidential
and proprictary nature, and takes, and xequircs me to take, all reasonable measures to maintain the confidentiality and
proprietary nature of such information.

3, Lacknowledge that Schwab's Business is intensely competitive and as an employee of Schwab in my position I have or
will be exposed to Confidential Information, the direct or indirect disclosure of which to existing and potential
competitors of Schwab would place Schwab at a competitive disadvantage and would do damage, monttary or
otherwise, to Schwab’s Business. I acknowledge that the Confidential Information constitutes a protectable business
interest of Schwab.

4. I agree that X will not, at any time, assert any claim, ownership or other property interest in any Confidential
Information. I also will nor, for any purpose, dircetly or indixcetly, disclose, reproduce, use, or disseminate ja any
manner during or after my employment with Schwab, on my own behalf or on behalf of any other person, company or
entiry, any Confidential Ioformation, unless: {a) such disclosure is required in the ordinary course of my duties at
Schwab and is necessary for me to perforzn my duties; (b) I have received advance written consent from an Authorized
Officer; or (c) I am legally compelled (by deposition, interrogatory, request for documents, subpoena, or similar
process) to disolose any of the Confidendial Information; provided, however, prior to disolosing such Confidendal
Tnformation, I shall give Schwab prompt prior written notlee of such requirement ao that Schwab may seek ¢ protective
order or other appropriate remedy and/or waive my compliance with the terms of this Agrecment. In the event that
such protective order or other remedy is not sought or obtained, or that Schwab waives my compliance with the terms
hereof, to the extent I shall be legally compelled to disolose the Confidential Information, 1 agree to provide only that
limited portion of the Confidential Information that is legally required and to exercise reasonable efforts to obtain
agsurance that confidential treatment will be accorded such Confidential Information. 1 will promptly notify Schwab if
I become aware of or suspect any unauthorized (whether intentional or accidental) vse or disclosure of Confidential
Information by me or by any other person, company or entity.

 

5. Twill promptly disolose in confidence to Schwab ail inventions, improvements, designs, original works of authorship,
formulas, processes, computer software programs, databases aud trade secrets (collectively, “Developments") that I
make, conceive, first reduce to practice, or create, either alone or jointly with others while I am employed by Schwab,
and that; (a) result from any work performed by me for Schwab, whether or not in the normal course of my
employment or during normal business hours; (b) reasonably relate to the actual or auticipated business, services,
products, research or development of Schwab; or (c) are developed with the use of Sobwab time, equipment, supplies,
Confidential Information or facilities. I must promptly disclose Developments whether or not such Developments are
patentable, copyrightable or protectible as trade secrets. 1 understand and agree that all Developments shall be the solc
and exclusive property of Schwab, and I hereby ixrevooably assign, transfer and convoy to Schwab, exolusively and
perpetually, all right, title and interest that I may have or acquire in and to such Developments throughout the world,
including without limitatlon any copyrights aad patents, and the right to seoure registrations, renewals, reissues, and
extensions thereof, I agree to sign any documents and te do all things necessary, without additional compensation,
whether ducing my employment or after, to assist Schwab to register, perfect, maintain and enforce Schwvab’s rights in
any Development, including without Hmitatlon any patent, copyright, wade secret or other right or imterest. I
understand that if! am now a California resident, or if I become a Califoraia resident while employed by Schwab, then
this paragraph will not apply to any Developments which fully qualify under Section 2870 of the Califomia Labor
Code, which section is set forth in the accompanying Exhibit A, attached hereto and made a part hereof

 

6. ll acknowledge that during my employment, Schwab will be providing me with resources that enable me to develop,
enhance, maintam and/or suppoxt account relationships with Schwab’s customers and prospective customers, which
such prospective customers have been designated as such by virtue of boing listed, classified or otherwise identified by
me or others, to which [ have knowledge of, during my employmont with Schwab (“Prospective Customers”). I also
acknowledge that such resources are provided at Sohwab’s expense and the development, enhancement, maintenance
and/or support of the account relationships with Schwab’s customers and Prospective Customers are solely for
Schwab’s benefit. [ acknowledge and agree that any account relationships I develop, enhance, maintain or support
duting my employment with Schwab are account relationships that belong solely to Schwab and not to me, with the

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10.

11.

exception of account relationships of my immediate family or other relatives, or individuals or entities that I provided
financial services to prior to joining Schwab, and which I have identified in the accompenyling Exhibit B, sstached
hereto and made a part hereof. I agree that I-will undertake to update this Exhibit B, aa and when necessary, by written
notice to Schwab.

 

J agres that during my employment with Schwab, 1 will not, directly or indirectly, on my behalf or on behalf of any
other person, company or entity, solloit or induce, or attempt to solicit or induce (which shall include, but is not limited
to, contact or communication in any manner for the purpose of soliciting or inducing): (a) any customer or Prospective
Customer of Schwab to divert, transfer or othorwise take away any business from Schwab; or (6) any employee, vendor
or independent contractor of, or consultant to, Sohwab to leave his or her employment or assignment with Schwab.

L agree that duting my employment with Schwab, I will not remove any property of Schwab in original or copied form,
including, but not imited to, any Confidential Information existing in any form from Schwab’s premises, except as
required in the ordinary course of my duties at Schwab and as necessary for me to perform my duties. I agree that J
will promptly retumn to Schwab immediately upon Schwab's request, my accoptance of other employment, or the
termination of my employment for any reason, any and all documents and materials that contain, refer to, or relate in
any way to any Confidential Information, as well as any other property of Schwab in my possession ox control,
including, but not limited to, any information pertaining and/or relating to Schwab's customers and Prospective
Customers, and all originals, copies and derivations of Schwab's documents, electronic and telephonic equipment,
credit cards, security badges, and passwords. I further agree thet J will permit Schwab to inspect any materials
provided by Schwab to me or developed by me as 2 result of or in connection with my employment wlth Schwab when
I accept other employment or otherwise separate from my employment, regardless of where said materials are located.

I further agree that for a perlod of sightcon (18) months after my employment with Schwab ceases beginning on the
date of my termination (the “Proscribed Period"), { will not, directly or indirectly, or on behalf of any third party: (a)
solicit or attempt to solicit any existing customers I serviced, directly or indirectly, and/or any Prospective Customers
(with the exception of individuals or entities listed in the attached Exhibic B), ar customers whose identities I leamed as
a result of my employment with Schwab, in an atempt to divert, transfer or otherwise take away business or
prospective business from Schwab; (b) sell or offer to sell any security, reticement, insurance or annuity product or
related service to any customer or Prospective Customer of Schwab that I solicited or attempted to solicit in breach of
my obligations hereunder; or (c) solicit or attempt to solicit or induce (which shall include, but is not limited to, contact
or cormmunication in any manner for the purpose of soliciting or inducing) any employee, vendor or independent
contractor of, or consultant to, Schwab to leave his or her employment or assignment with Schwab. I further agree that
the purpose of this provision is to prevent (he intentional or inadvertent unlawful use of Schwab’s Confidential
{nformation, including its trade secrets, Nothing in this Paragraph 9 is intended to prevent me from discussing possible
employment or prospective business with any oustomer, Prospective Customer, employco, consultant or independent
contractor who contacts me dircetly on his or her own volition without my solicitation or attempted solicitation of him
or her. J understand that nothing in this Paragraph 9 limits my absolute obligation under Paragraph 4 to never use
Confidential Information for any other purpose at any dme after my employment with Schwab ceasas. Sections (a) and
(b) of this Paragraph $ shall not apply to any institutional customer or institutional Prospective Customer of Schwab
Capital Markets L.P. whose identity is publicly available (notwithstanding the provisions in paragraph 6).

I represent and warrant that I do not have any agrecment(s) with any former employer or other third party that would
be breached by my performance of my duties at Schwab or that would limit, impair or otherwise adversely affect my
performance of such dutles, and that I will not take any action to bresch any such agreement while I am employed by
Schwab. In any event, I will not use or disclose to Schwab any confidential iafonnation that belongs to others. I have
listed on Exhibit C to this Agreement all the confidential, proprietary, trade secret, non-solicitation and/or non-
competition agreements to which I em subject and affirm that those agreements, if any, would not be breached by
performance of my duties at Schwab, I also agree that J will disclose my obligations under this Agreement to any
prospective or future employer or contractor and that my obligations under this Agreement in their entirety shall
survive the termination of my employment with Schwab regardless of the reason for the termination.

1 understand and agree fhat any breach of this Agreement may subject me to disciplinary action, up to and including
termination of my employment (if I am still employed at Schwab). 1 also undexstand and agree that any breach of this
Agreement by me will cause immediate irrepazable injury to Schwab that cannot be adequately compensated by money
damages or whose damages may be difficult to ascertain. [fa court of competent jurisdiction or an arbitration panel
finds that injunctive relief is appropriate to enforce any provision of this Agreement, J agree that Schwab is entitled to
such injuactive relief, in order to, among other things, prevent a continuing breach or to protect and preserve the status

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quo pending full resolution of any dispute zelating to this Agreement and under such circumstances, I specifically
CONSENT TO THE ISSUANCE OF INJUNCTIVE RELIEF ordering, among other things:

(a) that I retum to Schwab ail records of any kind or nature (including but not limited to original and duplicate,
typed and handwritten, soft (elecrronic, diskette) and hard copy and any orher form) containing, referring to,
or otherwise based on Confidential Information, and that I be prohibited from using or disclosing such
records or the information in such records; and

(b) that, for the Proscrlbed Period, I shall be prohibited ftom soliciting ox attempting to solicit (i) any Schwab
customer whom I serviced (directly or indirectly) or any Schwab customer or Prospective Customer whose
identity I leamed as a result of my employment with Schwab to divert, transfer or otherwise take away
business or prospective business from Schwab; and/or (li) any employee, vendor or independent contractor
of, or consultant to, Schwab to leave their employment or assignment with Schwab.

12. 1 understand and agree that {n the event of a breach of this Agreement by Schwab or me, either party may seek interim
injunctive relief against the other in an appropriate forum. The parties agree to expedited discovery, inoluding
depositions, in connection with any proceeding alleging breach of this Agreement, whether or not the laws of the
jurisdiction or the applicable rules of arbitration procedure imposed by a regulatory body or by agreement provide for
such expedited discovery, To the oxtent applicable, this provision is intended to supplement aud not to supersede the
rights and obligations of the parties to this Agreement under the terms of the Form U-4 signed or to be signed by me to
become a registered individual with the Company or the tetms of a separate arbitration agreement. The parties futher
agree that a party’s application to a court or an arbitration forum for injunctive relief shall not be construed as a waiver
by the other party of the right to arbitrate or demand arbitration of claims, where applicable.

13. I understand and agree that should I violate Paragraph 7{a) or Paragraph 9 of this Agreement, Sclrvab will suffer
irreparable harm and damages that may be difficult to ascartain at the time of the violation, including, but would not be
limited to, costs associated with investigating, monitoring, restricting and/or terminating the use of Confidential
Information by me in violation of this Agreement, revenue lost from assets diverted or transferred in violation of this
Agreement, and costs associated with mainteining, restoring or repairing Schwab’s relationship with customer or
Prospective Customers that were solicited in violation of this Agrcement. I therefore understand and agree that I will
be liable to pay Schwab liquidated damages of four percent (4%) of any cxisting customer or Prospective Customer
assets found by a court of competent jurisdiction or an arbitration panel to have been diverted, transferred or otherwise
taken away from Schwab in violation of Panagraph 7(a) or Paragraph 9 above. I apyee that this formula represents a
reasonable estimate of Schwab's actual datnager and does not consfitute a penalty. 1 understand and agree that
Jiquidated daraages are in addition to any other relief that Schwab may be entitled to, including, but not limited to,
injunctive relief and/or punitive damages.

14, This Agreement and the rights and obligations of the parties hereto shall bind and inure to the benefit of any successor
or successors of Schwab, but neither this Agreement nor any rights or benefits hereunder may be assigned by me.

15. In the event that a party to this Agreement brings an action to enforce any provision of this Agreement, the prevailing
pasty shal] be entitled to attomeys’ fees and costs incurred to enforce such claim.

16. Ifany provision or portlon of any provision af this Agceement is found to be invalid or unenforceable, that provision or
portion thereof will be enforced to the maxigum oxtent permissible, and the remaining provisions or portions thereof
shall remain in full force and effect, I agree that the terms of this Agreement and any disputes arising out of it shall be
govemed by, and construed in accordance with, the laws of the state in which I was last employed by Schwab, without
giving effect to such state's conflict of law principles.

{NO FURTHER TEXT ON THIS PAGE]

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17, This Agreement shal} be effective as of fhe date written below. I understand and agree that part of the
consideration for this Agreement is the continuation of my employment relationship with Schwab, but that
nothing in this Agreement changes my “nt will” employment status, and that either Schwab or J may end the
employment relationship at any time, with or without notice, for any reason or no reason at all.

Signed: QQ _/ _
C

Printed Name: Lamesa, me tAomtied GS Date: Gfin for

Employee ID Number: “ISAS or last 4 digits of Social Security Number:

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EXOUBIT A
California Labor Code Section 2876
{a) Any provision in an employment agreemexit which provides that an employee shall assign, or offer to assign, any of
his or her rights in an invontion to his or her employer shalt not apply to an invention that the employee developed entirely
on his or her own time without using the employer's equipment, supplies, facilitics, or trade secret information except for
those inventions that either:

(1) Relate at the time of conception or reduction to practice of the invention to the employer's business, or actual oy
demonstrably anticipated research or development of the employer; or

(2) Result from any work performed by the employee for the employer.
(b) To the extent that a provision in an employment agreement purports to requive an employee fo assign an invention

otherwise excluded from boing required to be assigned under subdivision (a), the provision is against the public policy of
this state and is unenforceable.

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EXBIBIT B

List of family members and other relatives (identified by familial status) and ind{viduals or entities that I provided
financial services to prior to joining Schwab (attach additional pages if necessaty)

Initials

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EXHIBIT C

List of Prior Agreements

Z

Initials

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CONFIDENTIALITY, NONSOLICITATION AND ASSIGNMENT AGREEMENT
CONFIRMATION PAGE

Confirmation of Agreement to and Signature on Contidentiality, Nonsolicitation and Assignment Agreement,

This is your Confirmation of your electronic agreement to the Confidentiality, Nonsolicitation and Assignment Agreement. You may
print this copy and record of our agreement and retain it for your records.

To PRINT this page, simply click the PRINT BUTTON on your browser.

Employee: Lance Memurry

Employee ID: 07096

Employee Logon: us\lance.mcmurry

Employee Email: Lance. Mcmurry@schwab.com
Employee Telephone: +1(239)436-1552
Employee Manager: Brian Baker

 

Date of Electronic Signature: 03/29/2006 06:59:17 AM EST
Document: Confidentiality_Agreement_rev132873_1.pdf

Charles Schwab & Co., Inc., its parent compan(ies) and/or its/their subsidiaries, affiliates,
joint venturers, and successors (collectively, "Schwab" or the "Company") desires to
protect its Confidential Information (as more fully described and defined in Paragraph 1,
below), to maintain and protect the confidential and/or proprietary nature of such
Confidential Information, and to protect against the unauthorized use of such
Confidential Information. In consideration for my at-will employment with Schwab and
in consideration for the compensation paid and to be paid to me and the receipt of other
benefits by Schwab, the receipt and adequacy of which ] acknowledge and agree, I am
willing to enter into this Confidentiality, Nonsolicitation and Assignment Agreement
(this "Agreement") to provide and facilitate the protection of Schwab Confidential
Information during and after my employment with the Company in accordance with the
terms and conditions set forth below.

1,

a. Tacknowledge and agree that during and related to my employment with
Schwab, I will obtain, have access to, and/or be exposed to certain
information that is confidential and/or proprietary to, and/or trade secrets
of Schwab (collectively, “Confidential Information"). I understand that
such Confidential Information may be in any form, and will include all
copies, reproductions, summaries, analyses or extracts thereof, based
thereon or derived therefrom, and which is the sole and exclusive property
of Schwab. Confidential Information may include, but not be limited to:

i. Confidential information about previous, current and/or
contemplated products and services, confidential know-how,
techniques, computer passwords, computer software designs, and
hardware configurations, and confidential training materials,
policies and procedures, and research projects;

 
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ii. | Market, financial, trade, and sales information and data, pricing,
financial models or formulae, business plans, financial and
business forecasts and estimates, account valuation, and
information about costs and profits;

iii, The identities of Schwab customers or Prospective Customers, as
defined in Paragraph 6 (including but not limited to, names,
addresses, telephone numbers and/or social security numbers), any
account, personal, business, financial and other information
pertaining to such customers or Prospective Customers, Schwab
customer or Prospective Customer lists in any form, and any
information related to the assets and obligations carried in an
account by a Schwab customer, a customer's positions, and/or
account valuation;

iv. Account, personnel or financial information pertaining to current
and former employees of Schwab, business, financial, and other
information pertaining to Schwab's vendors and independent
contractors, and any lists of such employees, vendors and/or
independent contractors;

v. All Developments, as defined in Paragraph 5 below, and all
information that relates to said Developments; and/or

vi. All information which Schwab has a legal obligation to treat as
confidential, or which Schwab treats as proprietary or designates as
confidential or for internal use only, whether or not owned or
developed by Schwab.

b. "Trade Secret," as used in this Agreement, shall mean, without limitation,
any technical or non-technical data or other business information, which
(i) derives economic value, actual or potential, from not being generally
known to, and not being readily ascertainable through proper means by,
other persons who can obtain economic value from its use; and (ii) is the
subject of reasonable efforts on the part of Company to maintain its
secrecy.

c, Notwithstanding the definition in Paragraph 1 hereof, Confidential
Information shall not include any information that is in its protected form,
(i) in the public domain through no fault of an employee of Schwab or
otherwise, (ii) readily and accurately discernable from publicly-available
products, literature or other information, or (iii) approved for disclosure by
prior written permission of an authorized senior or executive officer of
Schwab specifically designated by Schwab to give such authorization as
required hereunder (“Authorized Officer").

2. I acknowledge that such Confidential Information has been developed by or on
behalf of Schwab or licensed by Schwab at great expenditure of both financial
and human resources and that such Confidential Information may be unique and
not capable of being duplicated, or may only be acquired by significant expense. I
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acknowledge and agree that Schwab owns or licenses all such Confidential
Information and that such information is entrusted to me for the sole and
exclusive purpose of enabling me to conduct the business of providing brokerage
and financial advice to customers and Prospective Customers (the "Business") on
behalf of Schwab. I further understand that Schwab desires (or is under a legal

_obligation, in the case of information owned by others) to protect such
information's confidential and proprietary nature, and takes, and requires me to
take, all reasonable measures to maintain the confidentiality and proprietary
nature of such information.

3. I acknowledge that Schwab's Business is intensely competitive and as an
employee of Schwab in my position I have or will be exposed to Confidential
Information, the direct or indirect disclosure of which to existing and potential
competitors of Schwab would place Schwab at a competitive disadvantage and
would do damage, monetary or otherwise, to Schwab's Business. I acknowledge
that the Confidential Information constitutes a protectable business interest of
Schwab.

4, [ agree that I will not, at any time, assert any claim, ownership or other property
interest in any Confidential Information. I also will not, for any purpose, directly
or indirectly, disclose, reproduce, use, or disseminate in any manner during or
after my employment with Schwab, on my own behalf or on behalf of any other
person, company or entity, any Confidential Information, unless: (a) such
disclosure is required in the ordinary course of my duties at Schwab and is
necessary for me to perform my duties; (b) I have received advance written
consent from an Authorized Officer; or (c) I am legally compelled (by deposition,
interrogatory, request for documents, subpoena, or similar process) to disclose
any of the Confidential Information; provided, however, prior to disclosing such
Confidential Information, I shall give Schwab prompt prior written notice of such
requirement so that Schwab may seek a protective order or other appropriate
remedy and/or waive my compliance with the terms of this Agreement. In the
event that such protective order or other remedy is not sought or obtained, or that
Schwab waives my compliance with the terms hereof, to the extent I shall be
legally compelled to disclose the Confidential Information, I agree to provide only
that limited portion of the Confidential Information that is legally required and to
exercise reasonable efforts to obtain assurance that confidential treatment will be
accorded such Confidential Information. I will promptly notify Schwab if I
become aware of or suspect any unauthorized (whether intentional or accidental)
use or disclosure of Confidential Information by me or by any other person,
company or entity.

 

5. I will promptly disclose in confidence to Schwab all inventions, improvements,

- designs, original works of authorship, formulas, processes, computer software
programs, databases and trade secrets (collectively, Developments") that I make,
conceive, first reduce to practice, or create, either alone or jointly with others
while I am employed by Schwab, and that: (a) result from any work performed by
me for Schwab, whether or not in the normal course of my employment or during

 
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normal business hours; (b) reasonably relate to the actual or anticipated business,
services, products, research or development of Schwab; or (c) are developed with
the use of Schwab time, equipment, supplies, Confidential Information or
facilities. I must promptly disclose Developments whether or not such
Developments are patentable, copyrightable or protectible as trade secrets, I
understand and agree that all Developments shall be the sole and exclusive
property of Schwab, and I hereby irrevocably assign, transfer and convey to
Schwab, exclusively and perpetually, all right, title and interest that I may have or
acquire in and to such Developments throughout the world, including without
limitation any copyrights and patents, and the right to secure registrations,
renewals, reissues, and extensions thereof. I agree to sign any documents and to
do all things necessary, without additional compensation, whether during my
employment or after, to assist Schwab to register, perfect, maintain and enforce
Schwab's rights in any Development, including without limitation any patent,
copyright, trade secret or other right or interest. l understand that if I am now a
California resident, or if I become a California resident while employed by
Schwab, then this paragraph will not apply to any Developments which fully
qualify under Section 2870 of the California Labor Code, which section is set
forth in the accompanying Exhibit A, attached hereto and made a part hereof.

 

. Lacknowledge that during my employment, Schwab will be providing me with
resources that enable me to develop, enhance, maintain and/or support account
relationships with Schwab's customers and prospective customers, which such
prospective customers have been designated as such by virtue of being listed,
classified or otherwise identified by me or others, to which I have knowledge of,
during my employment with Schwab ("Prospective Customers"). I also
acknowledge that such resources are provided at Schwab's expense and the
development, enhancement, maintenance and/or support of the account
relationships with Schwab's customers and Prospective Customers are solely for
Schwab's benefit. I acknowledge and agree that any account relationships I
develop, enhance, maintain or support during my employment with Schwab are
account relationships that belong solely to Schwab and not to me, with the
exception of account relationships of my immediate family or other relatives, or
individuals or entities that I provided financial services to prior to joining
Schwab, and which I have identified in the accompanying Exhibit B attached
hereto and made a part hereof. I agree that I will undertake to update this Exhibit
B, as and when necessary, by written notice to Schwab.

 

. Lacknowledge that during my employment, Schwab will be providing me with
resources that enable me to develop, enhance, maintain and/or support account
relationships with Schwab's customers and prospective customers, which such
prospective customers have been designated as such by virtue of being listed,
classified or otherwise identified by me or others, to which I have knowledge of,
during my employment with Schwab ("Prospective Customers"). I also
acknowledge that such resources are provided at Schwab's expense and the
development, enhancement, maintenance and/or support of the account
relationships with Schwab's customers and Prospective Customers are solely for
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Schwab's benefit. I acknowledge and agree that any account relationships |
develop, enhance, maintain or support during my employment with Schwab are
account relationships that belong solely to Schwab and not to me, with the
exception of account relationships of my immediate family or other relatives, or
individuals or entities that I provided financial services to prior to joining
Schwab, and which J have identified in the accompanying Exhibit B, attached
hereto and made a part hereof. I agree that I will undertake to update this Exhibit
B, as and when necessary, by written notice to Schwab.

 

8. I agree that during my employment with Schwab, { will not, directly or indirectly,
on my behalf or on behalf of any other person, company or entity, solicit or
induce, or attempt to solicit or induce (which shall include, but is not limited to,
contact or communication in any manner for the purpose of soliciting or
inducing): (a) any customer or Prospective Customer of Schwab to divert, transfer
or otherwise take away any business from Schwab; or (b) any employee, vendor
or independent contractor of, or consultant to, Schwab to leave his or her
employment or assignment with Schwab.

9. lL agree that during my employment with Schwab, I will not remove any property
of Schwab in original or copied form, including, but not limited to, any
Confidential Information existing in any form from Schwab's premises, except as
required in the ordinary course of my duties at Schwab and as necessary for me to
perform my duties. J agree that I will promptly retum to Schwab immediately
upon Schwab's request, my acceptance of other employment, or the termination of
my employment for any reason, any and all documents and materials that contain,
refer to, or relate in any way to any Confidential Information, as well as any other
property of Schwab in my possession or control, including, but not limited to, any
information pertaining and/or relating to Schwab's customers and Prospective
Customers, and all originals, copies and derivations of Schwab's documents,
electronic and telephonic equipment, credit cards, security badges, and passwords.
I agree that any Confidential Information stored, recorded or contained on my
personal cell phone or any other personal electronic device will be immediately
removed or deleted by me upon termination of my employment for any reason. I
farther agree that I will permit Schwab to inspect any materials provided by
Schwab to me or developed by me as a result of or in connection with my
employment with Schwab when I accept other employment or otherwise separate
from my employment, regardless of where said materials are located.

10. I further agree that for a period of eighteen (18) months after my employment
with Schwab ceases beginning on the date of my termination (the "Proscribed
Period"), I will not, directly or indirectly, or on behalf of any third party: (a)
solicit or attempt to solicit any existing customers J serviced, directly or
indirectly, and/or any Prospective Customers (with the exception of individuals or
entities listed in the attached Exhibit B), or customers whose identities I learned
as a result of my employment with Schwab, in an attempt to divert, transfer or
otherwise take away business or prospective business from Schwab; (b) sell or
offer to sell any security, retirement, insurance or annuity product or related

 
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11.

service to any customer or Prospective Customer of Schwab that I solicited or
attempted to solicit in breach of my obligations hereunder; or (c) solicit or attenapt
to solicit or induce (which shall include, but is not limited to, contact or
communication in any manner for the purpose of soliciting or inducing) any
employee, vendor or independent contractor of, or consultant to, Schwab to leave
his or her employment or assignment with Schwab. I further agree that the
purpose of this provision is to prevent the intentional or inadvertent unlawful use
of Schwab's Confidential Information, including its trade secrets. If Schwab
assigns me fo service specific retail client account relationships (the "Specified
Accounts"), I will not, for a period of one year following the termination of my
employment with Schwab, initiate any contact for any purpose with any of the
Specified Accounts (including notifying them of my new or subsequent place(s)
of employment). This restriction will not apply to Schwab clients that I have
identified in Exhibit B. 1 agree that I am being assigned to service the Specified
Accounts on a non-exclusive basis, and that Schwab may reassign me to service
other client accounts and/or assign other Schwab employees to service the
Specified Accounts at any time and at Schwab's sole discretion. Nothing in this
Paragraph 9 is intended to prevent me from discussing possible employment or
prospective business with any customer, Prospective Customer, employee,
consultant or independent contractor who contacts me directly on his or her own
volition without my contact, solicitation or attempted solicitation of him or her. I
understand that nothing in this Paragraph 9 limits my absolute obligation under
Paragraph 4 to never use Confidential Information for any other purpose at any
time after my employment with Schwab ceases.

I represent and warrant that I do not have any agreement(s) with any former
employer or other third party that would be breached by my performance of my
duties at Schwab or that would limit, impair or otherwise adversely affect my
performance of such duties, and that I will not take any action to breach any such
agreement while I am employed by Schwab. In any event, I will not use or
disclose to Schwab any confidential information that belongs to others. I have
listed on Exhibit C to this Agreement all the confidential, proprietary, trade secret,
non-solicitation and/or non-competition agreements to which I am subject and
affirm that those agreements, if any, would not be breached by performance of my
duties at Schwab. I also agree that I will disclose my obligations under this
Agreement to any prospective or future employer or contractor and that my
obligations under this Agreement in their entirety shall survive the termination of
my employment with Schwab regardless of the reason for the termination.

12. I understand and agree that any breach of this Agreement may subject me to

disciplinary action, up to and including termination of my employment (if am
still employed at Schwab). I also understand and agree that any breach of this
Agreement by me will cause immediate irreparable injury to Schwab that cannot
be adequately compensated by money damages or whose damages may be
difficult to ascertain. If a court of competent jurisdiction or an arbitration panel
finds that injunctive relief is appropriate to enforce any provision of this
Agreement, I agree that Schwab is entitled to such injunctive relief, in order to,
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among other things, prevent a continuing breach or to protect and preserve the
status quo pending full resolution of any dispute relating to this Agreement and
under such circumstances, I specifically CONSENT TO THE ISSUANCE OF

- INJUNCTIVE RELIEF ordering, among other things:

a. that I return to Schwab all records of any kind or nature (including but not
limited to original and duplicate, typed and handwritten, soft (electronic,
diskette) and hard copy and any other form) containing, referring to, or
otherwise based on Confidential Information, and that J be prohibited from
using or disclosing such records or the information in such records; and

b. that, for the Proscribed Period, J shall be prohibited from soliciting or
attempting to solicit (i) any Schwab customer whom I serviced (directly or
indirectly) or any Schwab customer or Prospective Customer whose
identity I leamed as a result of my employment with Schwab to divert,
transfer or otherwise take away business or prospective business from
Schwab; and/or (ii) any employee, vendor or independent contractor of, or
consultant to, Schwab to leave their employment or assignment with
Schwab.

13. I understand and agree that in the event of a breach of this Agreement by Schwab
or me, either party may seek interim injunctive relief against the other in an
appropriate forum. The parties agree to expedited discovery, including
depositions, in connection with any proceeding alleging breach of this Agreement,
whether or not the laws of the jurisdiction or the applicable rules of arbitration
procedure imposed by a regulatory body or by agreement provide for such
expedited discovery. To the extent applicable, this provision is intended to
supplement and not to supersede the rights and obligations of the parties to this
Agreement under the terms of the Form U-4 signed or to be signed by me to
become a registered individual with the Company or the terms of a separate
arbitration agreement. The parties further agree that a party's application to a court
or an arbitration forum for injunctive relief shall not be construed as a waiver by
the other party of the right to arbitrate or demand arbitration of claims, where
applicable.

14. J understand and agree that should I violate Paragraph 7(a) or Paragraph 9 of this
Agreement, Schwab will suffer irreparable harm and damages that may be
difficult to ascertain at the time of the violation, including, but would not be
limited to, costs associated with investigating, monitoring, restricting and/or
terminating the use of Confidential Information by me in violation of this
Agreement, revenue lost from assets diverted or transferred in violation of this
Agreement, and costs associated with maintaining, restoring or repairing
Schwab's relationship with customers or Prospective Customers that were
solicited in violation of this Agreement. I therefore understand and agree that I
will be liable to pay Schwab liquidated damages of four percent (4%) of any
existing customer or Prospective Customer assets found by a court of competent
jurisdiction or an arbitration panel to have been diverted, transferred or otherwise

 
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taken away from Schwab in violation of Paragraph 7(a) or Paragraph 9 above. I
agree that this formula represents a reasonable estimate of Schwab's actual
damages and does not constitute a penalty. I understand and agree that liquidated
damages are in addition to any other relief that Schwab may be entitled to,
including, but not limited to, injunctive relief and/or punitive damages.

15. This Agreement and the rights and obligations of the parties hereto shall bind and
inure to the benefit of any successor or successors of Schwab, but neither this
Agreement nor any rights or benefits hereunder may be assigned by me.

16. In the event that a party to this Agreement brings an action to enforce any
provision of this Agreement, the prevailing party shall be entitled to attorneys‘
fees and costs incurred to enforce such claim.

17. If any provision or portion of any provision of this Agreement is found to be
invalid or unenforceable, that provision or portion thereof will be enforced to the
maximum extent permissible, and the remaining provisions or portions thereof
shall remain in full force and effect. I agree that the terms of this Agreement and
any disputes arising out of it shall be governed by, and construed in accordance
with, the laws of the state in which 1 was last employed by Schwab, without
giving effect to such state's conflict of law principles.

18. This Agreement shall be effective as of the date written below. I understand and
agree that part of the consideration for this Agreement is the continuation of
my employment relationship with Schwab, but that nothing in this
Agreement changes my "at will" employment status, and that either Schwab
or I may end the employment relationship at any time, with or without
notice, for any reason or no reason at all.

 

EXHIBIT A
California Labor Code Section 2870

a, Any provision in an employment agreement which provides that an employee
shall assign, or offer to assign, any of his or her rights in an invention to his or her
employer shall not apply to an invention that the employee developed entirely on
his or her own time without using the employer's equipment, supplies, facilities,
or trade secret information except for those inventions that either-

1. Relate at the time of conception or reduction to practice of the invention to
the employer's business, or actual or demonstrably anticipated research or
development of the employer; or

2. Result from any work performed by the employee for the employer.

b. To the extent that a provision in an employment agreement purports to require an
employee to assign an invention otherwise excluded from being required to be
assigned under subdivision (a), the provision is against the public policy of this
state and is unenforceable.

 
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X click here to electronically inital form

 

EXHIBIT B
List of family members and other relatives (identified by familial status) and individuals
or entities that I provided financial services to prior to joining Schwab.

X click here to electronically inital form

EXHIBIT B
List of Prior Agreements. If you have a copy of a prior agreement, please provide it to
your manager.

X click here to electronically inital form

Signature

I represent that I am the individual indicated in the "Work Contact Information" section
in the upper left hand corner of this screen, that I accessed this screen by logging in to the
Schwab network and using my unique password or biometric device, and that I have not
shared my password with anyone.

By clicking "I Agree" below I am creating a binding contract with Schwab, just as
enforceable as if it were a handwritten signature.

I Agree
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CONFIRMATION PAGE

Confirmation of Agreement to and Signature on Confidentiality, Nonsoficitation and Assignment Agreement.

|
|
|
CONFIDENTIALITY, NONSOLICITATION AND ASSIGNMENT AGREEMENT
|
|

This is your Confirmation of your electronic agreement to the Confidentiality, Nonsoficitation and Assignment Agreement, You may
print this copy and record of our agreement and retain it for your records.

To PRINT this page, simply click the PRINT BUTTON on your browser.

Employee: Lance Mcmurry

Employee ID: 07096

Employee Logon: us\lance.mcmurry

Employee Email: Lance.Memurry@schwab.com
Employee Telephone: +1(239}436-1552
Employee Manager: Joseph Lacagnina

Date of Electronic Signature: 04/16/2007 11:43:03 AM EST

Charles Schwab & Co., Inc., its parent compan(ies) and/or its/their subsidiaries, affiliates,
joint venturers, and successors (collectively, "Schwab" or the "Company") desires to
protect its Confidential Information (as more fully described and defined in Paragraph 1,
below), to maintain and protect the confidential and/or proprietary nature of such
Confidential Information, and to protect against the unauthorized use of such
Confidential Information. In consideration for my at-will employment with Schwab and
in consideration for the compensation paid and to be paid to me and the receipt of other
benefits by Schwab, the receipt and adequacy of which I acknowledge and agree, I am
willing to enter into this Confidentiality, Nonsolicitation and Assignment Agreement
(this "Agreement") to provide and facilitate the protection of Schwab Confidential
Information during and after my employment with the Company in accordance with the
terms and conditions set forth below.

1.

a. lacknowledge and agree that during and related to my employment with
Schwab, I will obtain, have access to, and/or be exposed to certain
information that is confidential and/or proprietary to, and/or trade secrets
of Schwab (collectively, “Confidential Information"). I understand that
such Confidential Information may be in any form, and will include all
copies, reproductions, summaries, analyses or extracts thereof, based
thereon or derived therefrom, and which is the sole and exclusive property
of Schwab. Confidential Information may include, but not be limited to:

i. Confidential information about previous, current and/or
contemplated products and services, confidential know-how,
techniques, computer passwords, computer software designs, and
hardware configurations, and confidential training materials,
policies and procedures, and research projects;

ii. Market, financial, trade, and sales information and data, pricing,
financial models or formulae, business plans, financial and

 
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business forecasts and estimates, account valuation, and
information about costs and profits;

iii. | The identities of Schwab customers or Prospective Customers, as
defined in Paragraph 6 (including but not limited to, names,
addresses, telephone numbers and/or social security numbers), any
account, personal, business, financial and other information
pertaining to such customers or Prospective Customers, Schwab
customer or Prospective Customer lists in any form, and any
information related to the assets and obligations carried in an
account by a Schwab customer, a customer's positions, and/or
account valuation;

iv. Account, personnel or financial information pertaining to current
and former employees of Schwab, business, financial, and other
information pertaining to Schwab's vendors and independent
contractors, and any lists of such employees, vendors and/or
independent contractors;

v. All Developments, as defined in Paragraph 5 below, and all
information that relates to said Developments; and/or

vi. All information which Schwab has a legal obligation to treat as
confidential, or which Schwab treats as proprietary or designates as
confidential or for internal use only, whether or not owned or
developed by Schwab.

b. "Trade Secret," as used in this Agreement, shall mean, without limitation,
any technical or non-technical data or other business information, which
(i) derives economic value, actual or potential, from not being generally
known. to, and not being readily ascertainable through proper means by,
other persons who can obtain economic value from its use; and (ii) is the
subject of reasonable efforts on the part of Company to maintain its
secrecy.

c. Notwithstanding the definition in Paragraph 1 hereof, Confidential
Information shall not include any information that is in its protected form
(i) in the public domain through no fault of an employee of Schwab or
otherwise, (ii) readily and accurately discernable from publicly-available
products, literature or other information, or (iii) approved for disclosure by
prior written permission of an authorized senior or executive officer.of
Schwab specifically designated by Schwab to give such authorization as
required hereunder ("Authorized Officer").

2. tacknowledge that such Confidential Information has been developed by or on
behalf of Schwab or licensed by Schwab at great expenditure of both financial
and human resources and that such Confidential Information may be unique and
not capable of being duplicated, or may only be acquired by significant expense. J
acknowledge and agree that Schwab owns or licenses all such Confidential
Information and that such information is entrusted to me for the sole and

 
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exclusive purpose of enabling me to conduct the business of providing brokerage
and financial advice to customers and Prospective Customers (the "Business”) on
behalf of Schwab. I further understand that Schwab desires (or is under a legal
obligation, in the case of information owned by others) to protect such
information's confidential and proprietary nature, and takes, and requires me to
take, all reasonable measures to maintain the confidentiality and proprietary
nature of such information.

. Lacknowledge that Schwab's Business is intensely competitive and as an
employee of Schwab in my position I have or will be exposed to Confidential
Information, the direct or indirect disclosure of which to existing and potential
competitors of Schwab would place Schwab at a competitive disadvantage and
would do damage, monetary or otherwise, to Schwab's Business. ] acknowledge
that the Confidential Information constitutes a protectable business interest of
Schwab.

. l agree that I will not, at any time, assert any claim, ownership or other property
interest in any Confidential Information. I also will not, for any purpose, directly
or indirectly, disclose, reproduce, use, or disseminate in any manner during or
after my employment with Schwab, on my own behalf or on behalf of any other
person, company or entity, any Confidential Information, unless: (a) such
disclosure is required in the ordinary course of my duties at Schwab and is
necessary for me to perform my duties; (b) I have received advance written
consent from an Authorized Officer; or (c) I am legally compelled (by deposition,
interrogatory, request for documents, subpoena, or similar process) to disclose
any of the Confidential Information; provided, however, prior to disclosing such
Confidential Information, I shall give Schwab prompt prior written notice of such
requirement so that Schwab may seek a protective order or other appropriate
remedy and/or waive my compliance with the terms of this Agreement. In the
event that such protective order or other remedy is not sought or obtained, or that
Schwab waives my compliance with the terms hereof, to the extent | shall be
legally compelled to disclose the Confidential Information, | agree to provide only
that limited portion of the Confidential Information that is legally required and to
exercise reasonable efforts to obtain assurance that confidential treatment will be
accorded such Confidential Information. I will promptly notify Schwab if1
become aware of or suspect any unauthorized (whether intentional or accidental)
use or disclosure of Confidential Information by me or by any other person,
company or entity.

. I will promptly disclose in confidence to Schwab all inventions, improvements,
designs, original works of authorship, formulas, processes, computer software
programs, databases and trade secrets (collectively, "Developments") that I make,
conceive, first reduce to practice, or create, either alone or jointly with others
while I am employed by Schwab, and that: (a) result from any work performed by
me for Schwab, whether or not in the normal course of my employment or during
normal business hours; (b) reasonably relate to the actual or anticipated business,
services, products, research or development of Schwab; or (c) are developed with
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the use of Schwab time, equipment, supplies, Confidential Information or
facilities. | must promptly disclose Developments whether or not such
Developments are patentable, copyrightable or protectible as trade secrets. I
understand and agree that all Developments shall be the sole and exclusive
property of Schwab, and I hereby irrevocably assign, transfer and convey to
Schwab, exclusively and perpetually, all right, title and interest that I may have or
acquire in and to such Developments throughout the world, including without
limitation any copyrights and patents, and the right to secure registrations,
renewals, reissues, and extensions thereof. I agree to sign any documents and to
do all things necessary, without additional compensation, whether during my
employment or after, to assist Schwab to register, perfect, maintain and enforce
Schwab's rights in any Development, including without limitation any patent,
copyright, trade secret or other right or interest. [ understand that if I am now a
California resident, or if | become a California resident while employed by
Schwab, then this paragraph will not apply to any Developments which fully
qualify under Section 2870 of the Califomia Labor Code, which section is set
forth in the accompanying Exhibit A, attached hereto and made a part hereof.

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resources that enable me to develop, enhance, maintain and/or support account
relationships with Schwab's customers and prospective customers, which such
prospective customers have been designated as such by virtue of being listed,
classified or otherwise identified by me or others, to which I have knowledge of,
during my employment with Schwab ("Prospective Customers"). I also
acknowledge that such resources are provided at Schwab's expense and the
development, enhancement, maintenance and/or support of the account
relationships with Schwab's customers and Prospective Customers are solely for
Schwab's benefit. I acknowledge and agree that any account relationships I
develop, enhance, maintain or support during my employment with Schwab are
account relationships that belong solely to Schwab and not to me, with the
exception of account relationships of my immediate family or other relatives, or
individuals or entities that I provided financial services to prior to joining
Schwab, and which I have identified in the accompanying Exhibit B, attached
hereto and made a part hereof. I agree that I will undertake to update this Exhibit
B, as and when necessary, by written notice to Schwab.

. lagree that during my employment with Schwab, I will not, directly or indirectly,
on my behalf or on behalf of any other person, company or entity, solicit or
induce, or attempt to solicit or induce (which shall include, but is not limited to,
contact or communication in any manner for the purpose of soliciting or
inducing): (a) any customer or Prospective Customer of Schwab to divert, transfer
or otherwise take away any business from Schwab; or (b) any employee, vendor
or independent contractor of, or consultant to, Schwab to leave his or her
employment or assignment with Schwab.

. l agree that during my employment with Schwab, I will not remove any property
of Schwab in original or copied form, including, but not limited to, any
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Confidential Information existing in any form from Schwab's premises, except as
required in the ordinary course of my duties at Schwab and as necessary for me to
perform my duties. I agree that I will promptly return to Schwab immediately
upon Schwab's request, my acceptance of other employment, or the termination of
my employment for any reason, any and all documents and materials that contain,
refer to, or relate in any way to any Confidential Information, as well as any other
property of Schwab in my possession or control, including, but not limited to, any
information pertaining and/or relating to Schwab's customers and Prospective
Customers, and all originals, copies and derivations of Schwab's documents,
electronic and telephonic equipment, credit cards, security badges, and passwords.
L agree that any Confidential Information stored, recorded or contained on my
personal cell phone or any other personal electronic device will be immediately
removed or deleted by me upon termination of my employment for any reason. I
further agree that I will permit Schwab to inspect any materials provided by
Schwab to me or developed by me as a result of or in connection with my
employment with Schwab when I accept other employment or otherwise separate
from my employment, regardless of where said materials are located.

. I further agree that for a period of eighteen (18) months after my employment
with Schwab ceases beginning on the date of my termination (the "Proscribed
Period"), I will not, directly or indirectly, or on behalf of any third party: (a)
solicit or attempt to solicit any existing customers I serviced, directly or
indirectly, and/or any Prospective Customers (with the exception of individuals or
entities listed in the attached Exhibit B), or customers whose identities I learned
as a result of my employment with Schwab, in an attempt to divert, transfer or
otherwise take away business or prospective business from Schwab; or (b) solicit
or attempt to solicit or induce (which shall include, but is not limited to, contact or
communication in any manner for the purpose of soliciting or inducing) any
employee, vendor or independent contractor of, or consultant to, Schwab to leave
his or her employment or assignment with Schwab. I further agree that the
purpose of this provision is to prevent the intentional or inadvertent unlawful use
of Schwab's Confidential Information, including its trade secrets. If Schwab
assigns me to service specific retail client account relationships (the "Specified
Accounts"), I will not, for a period of one year following the termination of my
employment with Schwab, initiate any contact for any purpose with any of the
Specified Accounts (including notifying them of my new or subsequent place(s)
of employment). This restriction will not apply to Schwab clients that 1 have
identified in Exhibit B. ] agree that I am being assigned to service the Specified
Accounts on a non-exclusive basis, and that Schwab may reassign me to service
other client accounts and/or assign other Schwab employees to service the
Specified Accounts at any time and at Schwab's sole discretion. Nothing in this
Paragraph 9 is intended to prevent me from discussing possible employment or
prospective business with any customer, Prospective Customer, employee,
consultant or independent contractor who contacts me directly on his or her own
volition without my contact, solicitation or attempted solicitation of him or her. J
understand that nothing in this Paragraph 9 limits my absolute obligation under

 
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Paragraph 4 to never use Confidential Information for any other purpose at any
time after my employment with Schwab ceases.

10. I represent and warrant that I do not have any agreement(s) with any former

11.

12.

employer or other third party that would be breached by my performance of my
duties at Schwab or that would limit, impair or otherwise adversely affect my
performance of such duties, and that I will not take any action to breach any such
agreement while I am employed by Schwab. In any event, I will not use or
disclose to Schwab any confidential information that belongs to others. I have
listed on Exhibit C to this Agreement all the confidential, proprietary, trade secret,
non-solicitation and/or non-competition agreements to which I am subject and
affirm that those agreements, if any, would not be breached by performance of my
duties at Schwab. J also agree that I will disclose my obligations under this
Agreement to any prospective or future employer or contractor and that my
obligations under this Agreement in their entirety shall survive the termination of
my employment with Schwab regardless of the reason for the termination.

I understand and agree that any breach of this Agreement may subject me to
disciplinary action, up to and including termination of my employment (if 1 am
still employed at Schwab). I also understand and agree that any breach of this
Agreement by me will cause immediate irreparable injury to Schwab that cannot
be adequately compensated by money damages or whose damages may be
difficult to ascertain. If a court of competent jurisdiction or an arbitration panel
finds that injunctive relief is appropriate to enforce any provision of this
Agreement, I agree that Schwab is entitled to such injunctive relief, in order to,
among other things, prevent a continuing breach or to protect and preserve the
status quo pending full resolution of any dispute relating to this Agreement and
under such circumstances, I specifically CONSENT TO THE ISSUANCE OF
INJUNCTIVE RELIEF ordering, among other things:

a. that I return to Schwab all records of any kind or nature (including but not
limited to original and duplicate, typed and handwritten, soft (electronic,
diskette) and hard copy and any other form) containing, referring to, or
otherwise based on Confidential Information, and that I be prohibited from
using or disclosing such records or the information in such records; and

b. that, for the Proscribed Period, I shall be prohibited from soliciting or
attempting to solicit (i) any Schwab customer whom I serviced (directly or
indirectly) or any Schwab customer or Prospective Customer whose
identity I learned as a result of my employment with Schwab to divert,
transfer or otherwise take away business or prospective business from
Schwab; and/or (ii) any employee, vendor or independent contractor of, or
consultant to, Schwab to leave their employment or assignment with
Schwab.

I understand and agree that in the event of a breach of this Agreement by Schwab
or me, either party may seek interim injunctive relief against the other in an

 
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appropriate forum. The parties agree to expedited discovery, including
depositions, in connection with any proceeding alleging breach of this Agreement,
whether or not the laws of the jurisdiction or the applicable rules of arbitration
procedure imposed by a regulatory body or by agreement provide for such
expedited discovery. To the extent applicable, this provision is intended to
supplement and not to supersede the rights and obligations of the parties to this
Agreement under the terms of the Form U-4 signed or to be signed by me to
become a registered individual with the Company or the terms of a separate
arbitration agreement. The parties further agree that a party's application to a court
or an arbitration forum for injunctive relief shall not be construed as a waiver by
the other party of the right to arbitrate or demand arbitration of claims, where

_ applicable.

13.

14,

I understand and agree that should I violate Paragraph 7(a) or Paragraph 9(a) of
this Agreement, Schwab will suffer irreparable harm and damages that may be
difficult to ascertain at the-time of the violation, including, but would not be
limited to, costs associated with investigating, monitoring, restricting and/or
terminating the use of Confidential Information by me in violation of this
Agreement, revenue lost from assets diverted or transferred in violation of this
Agreement, and costs associated with maintaining, restoring or repairing
Schwab's relationship with customers or Prospective Customers that were
solicited in violation of this Agreement. I therefore understand and agree that I
will be liable to pay Schwab liquidated damages of four percent (4%) of any
existing customer or Prospective Customer assets found by a court of competent
jurisdiction or an arbitration panel to have been diverted, transferred or otherwise
taken away from Schwab in violation of Paragraph 7(a) or Paragraph 9 above. 1
agree that this formula represents a reasonable estimate of Schwab's actual
damages and does not constitute a penalty. I understand and agree that liquidated
damages are in addition to any other relief that Schwab may be entitled to,
including, but not limited to, injunctive relief and/or punitive damages.

I understand and agree that should I violate Paragraph 7(b) or. Paragraph 9(b) of
this Agreement with respect to Schwab employees, Schwab will suffer irreparable
harm and damages that may be difficult to ascertain at the time of the violation,
including, but not limited to, costs associated with investigating such violation,
recruiting, hiring and training replacement employees, lost productivity; and other
costs. I therefore understand and agree that with respect to each employee found
by a court of competent jurisdiction or an arbitration panel to have been solicited
or induced away from Schwab in violation of Paragraph 7(b) or Paragraph 9(b), I
will be liable to pay Schwab liquidated damages equal to the greater of: one
hundred percent (100%) of the employee's annual base salary, or seventy-five
percent (75%) of the employee's total compensation in the previous calendar year,
whichever is greater. I agree that this formula represents a reasonable estimate of
Schwab's actual damages and does not constitute a penalty. I understand and
agree that liquidated damages are in addition to any other relief that Schwab may
be entitled to, including, but not limited to, injunctive relief and/or punitive
damages.
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15. This Agreement and the rights and obligations of the parties hereto shall bind and
imure to the benefit of any successor or successors of Schwab, but neither this
Agreement nor any rights or benefits hereunder may be assigned by me.

16. In the event that a party to this Agreement brings an action to enforce any
provision of this Agreement, the prevailing party shall be entitled to attorneys’
fees and costs incurred to enforce such claim.

17. If any provision or portion of any provision of this Agreement is found to be
invalid or unenforceable, that provision or portion thereof will be enforced to the
maximum extent permissible, and the remaining provisions or portions thereof
shall remain in full force and effect. I agree that the terms of this Agreement and
any disputes arising out of it shail be governed by, and construed in accordance
with, the laws of the state in which I was last employed by Schwab, without
giving effect to such state's conflict of law principles.

18. This Agreement shall be effective as of the date written below. I understand and
agree that part of the consideration for this Agreement is the continuation of
my employment relationship with Schwab, but that nothing in this
Agreement changes my "at will" employment status, and that either Schwab
or I may end the employment relationship at any time, with or without
notice, for any reason or no reason at all.

 

EXHIBIT A
California Labor Code Section 2870

a. Any provision in an employment agreement which provides that an employee
shall assign, or offer to assign, any of his or her rights in an invention to his or her
employer shall not apply to an invention that the employee developed entirely on
his or her own time without using the employer's equipment, supplies, facilities,
or trade secret information except for those inventions that either:

1. Relate at the time of conception or reduction to practice of the invention to
the employer's business, or actual or demonstrably anticipated research or
development of the employer; or

2. Result from any work performed by the employee for the employer.

b. To the extent that a provision in an employment agreement purports to require an
employee to assign an invention otherwise excluded from being required to be
assigned under subdivision (a), the provision is against the public policy of this
state and is unenforceable.

X click here to electronically inital form

 

EXHIBIT B
List of family members and other relatives (identified by familial status) and individuals
or entities that I provided financial services to prior to jotming Schwab.

 
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X click here to electronically inital form

EXHIBIT B
List of Prior Agreements. If you have a copy of a prior agreement, please provide it to
your manager.

X click here to electronically inital form

Signature

I represent that I am the individual indicated in the "Work Contact Information" section
in the upper left hand comer of this screen, that I accessed this screen by logging in to the
Schwab network and using my unique password 0 or biometric device, and that I have not
shared my password with anyone.

By clicking "I Agree" below I am creating a binding contract with Schwab, just as
enforceable as if it were a handwritten signature.

I Agree
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CHARLES SCHWAB CONFIDENTIALITY, NONSOLICITATION, AND
INTELLECTUAL PROPERTY OWNERSHIP AGREEMENT 2008 (Simplified
Confidentiality Agreement - Rev. 3/08)

CONFIRMATION PAGE

Confirmation of Agreement to and Signature on Confidentiality, Nonsolicitation and Assignment Agreement.

This is your Confirmation of your electronic agreement to the Confidentiality, Nonsolicitation and Assignment
Agreement. You may print this copy and record of our agreement and retain it for your records.

To PRINT this page, simply click the PRINT BUTTON on your browser.

Employee: Lance Mcmurry

Employee UD: 07096

Employee Logon: us\lance.mcmurry

Employee Email: Lance Mcmurry@schwab.com
Employee Telephone: +1(239)436-1552
Employee Manager: Joe Lacagnina

Date of Electronic Signature: 05/02/2008 21:30:53 PM EST

LAM ENTERING INTO THIS AGREEMENT IN CONSIDERATION FOR my
initial or continued at-will employment with Charles Schwab & Co., Inc., its parent
company and/or its subsidiaries, affiliates, joint venturers, and successors (collectively,
"Schwab"), and the compensation and other benefits I receive from Schwab, including
my participation in bonus and incentive compensation plans for which J am eligible.
Acknowledging the receipt and adequacy of this consideration, and intending to be
legally bound, I agree as follows:

a. that I will maintain the confidentiality of all Confidential Information and
Intellectual Property, as defined below, that I develop or obtain while J work at
Schwab;

b. that Schwab owns all Confidential Information and Intellectual Property, and that
I will not assert any claim to the Confidential Information and/or Intellectual
Property; and

c. that I will not solicit or encourage Schwab's employees or Schwab's current or
prospective clients to leave Schwab.

The scope of these obligations, and some of the possible consequences for breaching
them, are described in more detail below.

1. Protection of Schwab's Confidential Information and Intellectual Property.
While working at Schwab, I will develop and/or have access to Schwab's
Confidential Information and/or Intellectual Property, as defined in Paragraph 2. I

 
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acknowledge that Confidential Information and Intellectual Property is the
exclusive property of Schwab, its business partners, licensors, and/or clients, and I
agree not to assert any claim to it. Except as permitted in Paragraph 7, ] agree not
to use or disclose any Confidential Information and/or Intellectual Property during
or after my employment with Schwab.

2. What is Schwab Confidential Information and Intellectual Property?
"Confidential Information" is all information learned during my employment that
is not generally known to the public at the time it is made known to me. It
includes, but is not limited to: "Trade Secrets" and "Developments," as defined
below; names, addresses, phone numbers, email addresses, account numbers or
financial information pertaining to Schwab clients or prospective clients;
proprietary software designs and hardware configurations; proprietary
technology; business methods or strategies; new product and service ideas;
marketing, financial, research and sales data; information sufficient to identify
clients, vendors, or personnel; client, vendor or personnel lists, contact, account
and related information; and all information Schwab treats or is obligated to treat
as confidential, privileged, or for internal use only, whether or not owned by
Schwab. "Trade Secrets" is any information that (i) has economic value from not
being generally known to, and not being readily ascertainable through proper
means by, other persons who can obtain economic value from its use; and (ii)
Schwab takes reasonable steps to protect as secret. "Intellectual Property" is
Schwab's copyrighted materials, trademarks, service marks, logos, patents, Trade
Secrets, and other intellectual property and proprietary rights.

3. Agreement Not to Solicit, While I work for Schwab and for 18 months after my
employment ends, I will not directly or indirectly solicit or induce: (a) any
existing or prospective Schwab clients I serviced or about whom I gained
Confidential Information (other than those listed in Exhibit A) in an attempt to
divert, transfer, or otherwise take away business or prospective business from
Schwab; and/or (b) any Schwab employee or contingent worker to leave his or her
employment or engagement with Schwab.

4. Remoyal and Return of Schwab Property. I will not remove any Schwab
property, including any Confidential Information and/or Intellectual Property, in
original or copied form, in either electronic or hardcopy form, except as required
for me to carryout my job duties while employed by Schwab. Upon termination
of my employment with Schwab for any reason, my acceptance of other
employment, or at Schwab's request, I will immediately return to Schwab all
Schwab property and documents, including but not limited to Confidential
Information and/or Intellectual Property; any Schwab-issued credit cards, security
badges, keys and Secure JD tokens; and all Schwab-issued electronic and
telephonic equipment including but not limited to computers, mobile phones,
personal data assistants, CD-ROMs, DVDs, floppy disks, Zip drives, USB storage
devices, flash drives, memory cards, or other electronic devices ("Electronic
Devices").
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5. Obligation to Protect Confidential Information and Intellectual Property. I
will promptly notify Schwab if I become aware of or suspect any unauthorized
use or disclosure of Confidential Information and/or Intellectual Property by me
or anyone else, whether intentional or accidental.

6. Schwab's Ownership of Intellectual Property "Developments."

a.

Disclosure of Developments While Employed by Schwab. I will
promptly disclose in confidence to Schwab all inventions, improvements,
designs, original works of authorship, and processes, including but not
limited to all computer software programs and databases, whether or not
protected or capable of protection under intellectual property or other
jaws, as well as al! works based upon, derived from, reduced from,
collecting, containing or making use of any of the foregoing or of any
other Confidential Information or Intellectual Property of Schwab
(collectively, Developments") that I create, make, conceive, implement,
or first reduce to practice, either alone or with others, while I am
employed by Schwab, and: (a) result from any work I perform for Schwab,
whether or not in the normal course of my employment or during normal
business hours; (b) reasonably relate to the actual or.anticipated business,
research or development of Schwab; or (c) are developed with the use of
Schwab resources, facilities, Confidential Information and/or Intellectual

Property.

Help in Confirming Ownership. I must promptly disclose Developments
to Schwab whether or not the Developments are patentable, copyrightable,
or protectable as Trade Secrets. 1 agree all Developments will be the
exclusive property of Schwab, and I irrevocably assign to Schwab all
rights, title, and interest I may have or acquire in and to the Developments
and the right to secure registrations, renewals, reissues, and extensions in
the Developments. I will sign any documents and do all things necessary,
whether during my employment or after, to assist Schwab to register,
perfect, maintain and enforce Schwab's rights in any Developments,
without any additional compensation. IfI fail or refuse for any reason to
sign any document Schwab requires to perfect its ownership of the
Developments, I appoint Schwab as my attorney-in-fact (this appointment
to be irrevocable and to be a power coupled with an interest) to act on my
behalf and to execute all such documents.

State Laws Relating to Ownership of Developments. { understand if1
am or become a California resident while employed by Schwab, then this
Paragraph 6 will not apply to any Developments which fully qualify under
Section 2870 of the California Labor Code, attached as Exhibit B to this
Agreement. To the extent other similar laws may apply to residents of
other states, the terms of Paragraph 6 shall be limited solely to the extent
provided by the applicable laws of such states.
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d. Pre-Existing Intellectual Property. To the extent I have any pre-existing
patent, trademark, or copyright registrations, I have listed them in Exhibit
C. I understand Schwab does not want to use any other person's
intellectual property unlawfully. | agree to indemnify and hold Schwab
harmless against any liability, and pay any loss or expense Schwab incurs,
arising out of any claim that | misappropriated or infringed proprietary _
rights of a former employer or any other third party.

7. Permissible Disclosure of Confidential Information and/or Intellectual
Property. I can only use or disclose Confidential Information and/or Intellectual
Property to the extent: (a) necessary to perform my job duties at Schwab; (b) I
receive advance written permission from an authorized senior or executive officer
of Schwab; (c) I am legally compelled by subpoena or other legal process to
disclose the Confidential Information and/or Intellectual Property, subject to the
procedures in Paragraph 9; or (d) disclosure is sought by a government entity,
regulatory agency, or self regulatory organization, subject to the procedures in
Paragraph 9. I understand that Schwab's policy prohibits departing employees
from taking client lists and account information.

8. Questions About Confidential Information and/or Intellectual Property. If]
am unsure whether information is Confidential Information and/or Intellectual
Property, I will treat it as Confidential Information and/or Intellectual Property
unless I receive advance written permission from an authorized senior or
executive officer of Schwab.

9. Subpoenas and Other Legal Requests for Disclosure. I will give Schwab
prompt notice in writing before disclosing any Confidential Information and/or
Intellectual Property under Paragraph 7 subsections (c) and (d). If Schwab does
not obtain an order preventing the disclosure, I agree to disclose only that
Confidential Information and/or Intellectual Property that I am legally compelled
to disclose and to exercise reasonable efforts to ensure that the Confidential
Information and/or Intellectual Property will be treated confidentially.

10. Discovery and Injunctive Relief. In the event I violate, or Schwab reasonably
believes J] am about to violate, this Agreement, I agree Schwab is entitled to
injunctive relief to prevent the violation(s) and/or preserve the status quo. J agree
that in any proceeding alleging breach of this Agreement, each party shall have
the right to engage in deposition and document discovery, and Schwab shall have
the right to conduct forensic examination(s) of Electronic Devices in my
possession or control, if Schwab reasonably believes such devices contain
Confidential Information and/or Intellectual Property. I further agree that in
connection with any application for injunctive relief, discovery shall be conducted
on an expedited basis. If any dispute under this Agreement is arbitrable, then I
understand my agreement to engage in discovery as outlined in this paragraph is
an essential term of my arbitration agreement with Schwab, and these provisions
are intended to supplement and modify any applicable arbitration rules.
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12.

Liquidated Damages. If I solicit clients or employees in violation of Paragraph 3,
and/or use or disclose Confidential Information relating to clients and/or their
accounts in violation of Paragraph 1, I understand Schwab will suffer damages
that may be difficult to quantify at the time of the violation, including, but not
limited to: costs associated with investigating, monitoring, or remedying the
misuse of Confidential Information; costs associated with maintaining, restoring
or repairing Schwab's relationship with current and prospective clients; revenue
lost from client assets diverted or transferred; costs associated with replacing
employees, including recruiting, hiring and training replacement employees, and
lost productivity. Therefore, if I violate Paragraph 3, and/or Paragraph 1 relating
to clients and/or their accounts, I agree to pay Schwab the following liquidated
damages: (a) four percent (4%) of any client assets diverted from Schwab for any
client who was solicited and/or whose Confidential Information was used or
disclosed; and/or, (b) seventy-five percent (75%) of the most recent full year's
total annual compensation paid by Schwab to each employee solicited or induced
to leave his or her employment. I agree that these formulas represent reasonable
estimates of the compensatory damages that Schwab will incur as a result of
violations of Paragraph 3 and/or Paragraph 1 relating to clients and/or their
accounts, and are not a penalty. These liquidated damages are in addition to any
other non-compensatory relief that Schwab may be entitled to, including but not
limited to injunctive relief and/or punitive damages.

General Provisions. I agree that if Schwab or I bring an action to enforce any
provision of this Agreement, the prevailing party shall be entitled to attorneys’
fees and costs to enforce such claim. If any provision of this Agreement is found
to be invalid or unenforceable, I agree that such provision should be deemed
modified to the extent necessary to make it enforceable. If a court or arbitration
panel declines to amend the provision to make it enforceable, then the remaining
provisions of this Agreement shall remain in full force and effect. The terms of
this Agreement and any disputes arising out of it shall be governed by, and
construed in accordance with, the laws of the state in which I was last employed
by Schwab, without giving effect to such state's conflict of law principles. | agree
that this Agreement supplements any prior agreements I have with Schwab, all of
which remain in full force and effect.

 

EXHIBIT A
List of family members and other relatives (identified by familial status) and individuals
or entities to whom I provided financial services prior to joining Schwab:

X click here to electronically inital Exhibit A

EXHIBIT B
California Labor Code Section 2870
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a. Any provision in an employment agreement which provides that an employee
shall assign, or offer to assign, any of his or her rights in an invention to his or her
employer shall not apply to an invention that the employee developed entirely on
his or her own time without using the employer's equipment, supplies, facilities,
or trade secret information except for those inventions that either:

1. Relate at the time of conception or reduction to practice of the invention to
the employer's business, or actual or demonstrably anticipated research or
development of the employer; or

2. Result from any work performed by the employee for the employer.

b. To the extent that a provision in an employment agreement purports to require an
employee to assign an invention otherwise excluded from being required to be
assigned under subdivision (a), the provision is against the public policy of this
state and is unenforceable.

X click here to electronically inital Exhibit B

 

EXHIBIT C
Pre-Existing Intellectual Property Registrations:

X click here to electronically inital Exhibit C

Signature

I represent that I am the individual indicated in the "Work Contact Information" section
in the upper left hand corner of this screen, that I accessed this screen by logging in to the
Schwab network and using my unique password, and that I have not shared my password
with anyone.

By clicking "I Agree” below I am creating a binding contract with Schwab, just as
enforceable as if it were a handwritten signature.

I Agree
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INTRODUCTION - “PRIVACY IS EVERYBODY'S BUSINESS"

Various Privacy Laws at the state and federal levels govern much of the Information that Is used by Schwab
employess to perform their fob sesponsibtities. Accordingly, # Is essential! that all Schwab employees
understand the importance of the proper handling of this information in thelr day-to-day performance of thelr

fobs. : i

Privacy regulations require Schwab employees (o take appropriate precautions when handing cllants’ non.
public personal cflont information (NPI) fo protect it from unauthorized access, ' i
states the company's standards and practices for protecting and sharing clent'NPI. All Schwab employees,
contractors and vendors are required to comply with the polly.

The Privacy Policy Is provided to cllents when they open an account and annually thereatter. Schwab
employees, temporary employees and contractoré should be familiar wtih the Privacy Foticy and atwaye
handte clien|: NPI in accordance with this and eff related Privacy, Compliance Schwab Information Security.

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Failure to abide by thesa policies could compromise the comidentiality of NPI and other sensttlve Schwab
data and could cause negative consequences for the fiem, Including damage fo our reputation, lose of
customer confidence, regtiiatory sanctions, Migation, financial loss, competitive disadvantage and/or
business Interruption. vee neceee _ oes ot

Privacy Information Hextdling Guidelines are provideddo help you secure cllant NP{ from the time tt Is
provided fo Schwab by the cilon! until K Is appropriately disposed of at its proper time. :

- A. WHAT INFORMATION IS COVERED BY THE PRIVACY POLICY?

Al Schwab, NP1 is information that can identify a customer or prospect through his/her name, address,
phone number(s), Schwab account numbers), and cookies. it is collected through account applications,
service registration, requests for information (LEAD kit requests), and transaction history on balances,
positions, atc. Since this.{nformation is pérsonal end private, It must be protected from unauthorized access -

Or use, . ,
Examples of NPI Include:

*  Infornation thal'can Kentty a person euch ag name, home and work addresses, phone number(s),
emal address(es), social security number and Schwab account number(s):

Information provided on an account or employment appiication:

account balance Information; :

the faci thal an individual fs or has been a Schwab customer: and

information from a consumer report (e.g. credit repor),
8. THE CHARLES SCHWAB & CO., INC. PRIVACY POLICY — -

The privacy policy of Chdites Schwab & Co., Inc., posted on our wab elie states slinply that we do not sell
oustomer or prospect NPF lo third parties, Only transaction and experience Information is shared between
Schwab affiliates untass: we first obtain customer consent; or sharing the Information fs necessary to service
the relationship (e.g. sending information to a statement vander).

Other Schwab affifiates may have a different privacy pollcy. if you are employed by an efiiliate of Charles
Schwab & Co., Inc., you should read and be familar with the privacy policy of that aftilate.

C. ADDITIONAL REQUIREMENTS

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Employees must be aware of and understand Schwab's Privacy Polcy and how te protect customer NPI, Au
employees are tequired to complete the antine training module "Privacy Basics", Additional training
modules are avaliable for employees who have Specific job functions that deal with NPI (e.g Cllent Contact,
Manager/Supervisor end Information Handling). Each manager and supervisor should determine which of
their staff should complete these additional moduias. Information about thesa training modules can ba found
‘at the Privacy websites’. , / . .

All privacy training must be verfflable by federal regutators (for example, the Secixities anid Exchange
Commisskn and the Federal Reserve Board audit Schwab.) The on-line training modules records
completion of the Privacy modules for each employea. Managers and supervisors can confirm completion
acoassing the Reportal function provided by Schwab VU, Y

D. HOW DOES PRIVACY INVOLVE ME?

NPI impacts the way you and your department conduct business when en employee has access to or
shares NPI in one or rite of the following ways: : .

 

vendor relationships;

email and the intemet;

access through the nrainfrome, cllenVserver, andfor laptop;
dacument use, storage and disposal: and ‘

physical security. .

E. WHAT ARE MY RESPONSIBILITIES?
ESP t

“Privacy ts everybody's business” and that means the protection of customer's NPI is everybody's

. Fesponsbllity. Some of the specific areas that should be conakdered include: . -

“ Da not send NPI via the Intemet unless you are using secure, Schwab-approved methods of
transmitting customer data to an approved vendor or affilate, (see the Information Security website
for more details), . “ . a .

* — Protect Information on desktops or taptops: creale a unique password, restrict access, and dispose
of files when they are Fv longer used. ‘ 0

“ Change your password often and follow our paseword guidelines. . .

© — Lock your workstation whan you leave your work area, even for a shorl fime or log-off after finishing
your session td prevent unauthorized acoass. Never store NPI om the hard deve of a taptop. NPI
atcred on COs-or diskettes should atways be password protected, .

= Printed documents containing NPI ghoutd be properly labéled;-for exarnpto, “sensitive, ‘attomsy-
Cunt privilege;" of “intemal use only." 7

= Always stora paper documonts computer disks, software and microfiche cortalting NPI under tock
and koy. Safeguard afl keys, and conlact security immediately if they are missing

* Dispose of documents, files or electronic média with NP? by placing them In a secuTed storage bin
clearly intended and labeled for disposal. Example: Instastired Securtty Serviogs, Inc. NEVER
PLACE DOCUMENTS WITH NPI IN COMMON TRASH BINS. .

3

Verbal communications where NPI is discussed should not be conducted public places, such a6 elevators,
fastaurants, or on pudsic-tranepostation. .

California Security Breach Notification Statute (SB 1386)

On July 1, 2003, the Calfornia Securily Sreach Notification Statute (SB 71386} went Into effect. The faw
applies to any company that does business in Califomia and maintains computerized information about
California residents, Thapefore, all Schwab affillates are subject to 1388. .

The law requires that theyirm notify Cakfora residents of any breach of the firm's computer systems that
results In the residents’ personal information being acquired by an unauthorized person. Thie covers

 

 
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employee and customer information.
@ Examples of potentlal breaches include:

A lost or stolen laptop or fles containing confidential information

* Unauthorized access (by hackers, employees, Independent contractors, ete.) to systems or
documenta cotitaining confidential Information : .

* — Improper hard’or soft disk disposal .

«  Impropeny eddfessed email containing confidential informatkm

if an employes leams of a potential breach or violation of Schwab's information Security policies, K mus! be
reported to the appropriate security team within Selwab. it doesn't matter whether the breach or violation

was directly observed by the employes or-ie discoverad through a vendor ora third-party service provider

that receives or maintains confidential Schwab infermation. Schwab vendor should be noted to confirm
thelr understanding-of thelr requirement to report breaches to the Schwab employee responsible forthe =~
Vendor of vervice-provider relationship... . . . .

How to Report a Security Breach

An employes must report @ potential braach immediately by sending an emall to the “Breach Nofification
Team’ distibutlon list on Outlook, vo .

The report should include:

* Abzlef description of the Incident, Including when It occurred Qf known);

*  Adescription of the system(s) affected (if known); and -

* How the person first leamed about the Incident (including information obtained from the vendor, fa .
vendor fs tnvotved). ,

@ F. RISKS AND CONSEQUENCES OF PRIVACY VIOLATIONS
What might happen if NPi were shared without consent?

"  Camage to our brand through a breath of our custemers (rust;

*  Regulatery sangtions, including fines: .

* Findings by regulators and/or arbitration panels of negilgenca and/or non-compliance with faws,
rules and regulations; . .

Accidental release of nos-pubiic personal information; .

Fraudulent access, or intenfonal release;

Leweults and arbitrations; . .

Termination of employment; and * :
Punitive sancflons, including fos and Imprisonment under the fraud provisions of GLB.

G.RESOURCES

© TWIN Gumpword: “IWIN from the SchWEB Than search for Guidelines tor Handling Non-public’
Information = - . ”

©  Pavacy Pollcy (umpword "Privacy’)
*  Ernaill: Privacy.Ofice@Schwab.com

 

 

 
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Case 1:07-cv-21745-DLG Document 1

 

 

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THR CHARLES SCHWAB CORPORATION

Dear Fellow Employee:

This ts your dopy of Tha Charles Schwab Corporation Code of Bustness Conduct and
Ethics (The Code’) approved by The Board of Directors of the Charlés Schwab
Corporation.‘ applies ta your service to The Charles Schwab Corporation and lis

"subsidiaries and affiliates, and augments any additional standards that may be

applicable to your position. The. Code, which is posted on our public webstte, is
designed'to make clear to oir customers and shareholders our personal and
corporate commitment to the highest fevel of business conduct. .

We urge youtlto read these policies and to reflect on their content While the
concepts batting these policies are not new to us, itis important that we each take

the tle to rdifect on their meaning and to ensure that all of our practices are
consistent with the Code, .

This positive declaration of our commitment to ethical excellence Is important in
defining the nature of our firm and in communicating these standards to afl with
whom we da ‘business,

Charles Schwab
Chairman and Chief Executive Otficar
The Charles Sthwab Corporation

CH:

’ Carnie Dwyer

EVF, Corporate Oversight
The Charles Schwab Corporation

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Confidentiality of Information

As a financial services cortipany, we have particular
rasponsibitiies for safeguarding the information of
our cients and the propridtary Information of our
company. You should be mindful of this obiigatlon
when you use the telephone, fax, telex, electronic
mail, and other electronic means of storing and
transmitting information, You should not discuss
confidential information in public areas where if can

be overheard, read confidefitial documents in public ©

places, nor leave or discard:-confidential documents
where they-can -be-retrievad by otters.

Confidentiality of Client Laformation

information conceming the identity of clients and-

thelr transactions and accounts is confidential. Such
information may riot be dis¢josed to persons within
the company excapt as the}: may need to know It in
order to fulfill their responsibilities to the company.
You may not disclose such information to anyone or
any firm outside the company except {i} in the event
an outside firm needs to know the Information in
order to perform services for the company and is
bound to maintain Its confidentiality, (fi) when a
dient has consented to the!tisclesure after having
been given an opportunity to request that the
information not be shared, (li) as required by law, or

(iv) as authorized by the Compliance Department or:

Office of Corporate Counsel,

Information regarding client orders must not be
used in any way “co influence trades in personal
accounts or In the accounts of other clients,
including those of other erfiployees, officers and
directors. Trading ahead of alclient’s order és known
as frontrunning and is prohibited. Following a client's
order with your trading activity is known as
plggybscking or shadowing and is &kewise
prohibited. if you reasonably believe improper

a

trading in personelor client accounts has occurred,
you must report such conduct to the Corporate
Responstbitity Officer or the Ombudsperson, .

Privacy

“Schwab is committed io safeguarding our

customers’ privacy, and we fimlt how we. share
customer information with others, As set out In our
Privacy Policy, we do not sell personally identifiable.

customer information to anyone... We share

cistomer information with third parties only in
certain limited circumstances, such as to help us.
process transactions and service accounts, in
connection with jaint marketing amangements, and
for other specific purposes: pemnitted by epplicable
federal and state privacy laws, We share Information
with our atfillates as allowed by applicable laws and,
where required, only after giving customers the
Opportunity te opt out of such sharing,

You should be familiar with Schwab's Privacy Policy
and the limitations on how customer information
can be used and shared. ff you have any questions
about whether any particular use or disclosure of
customer Information is permitted, you should dicect
them to the Privacy Office. You should also be
familiar with the procedural and systemic.
safeguards we maintain to protect the security of
customer information, end should report any

. breaches of these safeguards in accordance with

Schwab's procedures.

Proprietary Information of the Company .
You have the responsibility to safeguard proprietary
information of the company and comply with the
company’s Confidentiality, Non-solicitatlon and
Assignment Agreement. Proprietary information
includes intellectual property (copyrights,

+ The Chattes Schaub Corponsion Code of Busines Condoci nnd ite «= S

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Confidentiality of infurmetion

eo ‘trademarks or patents or-trade secrets), particular
know-how (business or dganizational designs, or:
business, marketing or sevice plans or ideas) and .
sensitive information “about the company _
(databases, -racords, salary information or -
unpublished financial ‘reports). If you have any
Questions about what -constitutes proprietary
Information, or If you believe.such information has
been compromised, contact the Office of Comorate

‘Counsel, . ‘ .

 

I.
Protection and Use of Chipany Assets
You ae obfigated o protect the company’s assefs
and ensure thelr efficient ‘use. Theft, carelessness
and waste have a direct impact on the company,
Company equipment should not be used for non-
company business, though incidental personal use *
may be pemitted. Breaches. of this obligation must. -

_ be reported to the Complialice Department.

 

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Jun. 12. 2008 11:22AM CHARLES SCHWAB lo. 1121 Pe
vee pn eva esse" CHARLES SCHWAB

Fune 11, 2008
Dear Mr. Lacagnina:

This is my letter of resignation from Chartes Schwab, cffcctive immediatcly. Please inform
ray clients that T oan be reached at ray new fine, Bane of America Investments Services, tue. at

4501 Tamiami Trail North, Suite 400, Naples, FT. 34103, (239) 290-0029.
Please be advised of the following:

L will not use any Schwab records to obtain contact information for any of my former
Schwab customers.

To the best of my knowledge, | do not havein my possession any Schwab records in any
form (including electronic) pertinent to Schwab customers, Further, T did not
deliver any such records to Banc of America Investments, Inc. If you are
concerned about the location of any records, please contact me through my attomey
and T will be cooperative in helping to locate them.

L will not solicit any Schwab customers in an attempt to take away business from Schwab.
] will not say anything disparaging about Schwab to any Schwab customer.

T have retained an attomey to represent me. In the event Schwab takes legal action against
me, T demand that you wlve the following atiomey due process notice of such
action:

Peter J. Aldrich, Esq.

100 Village Square Crossing, Suite 201
Palm Beach Gardens, FL 33410
563-775-7797, 561-775-1 O7S(Fax)
e-mail: peter.aldnch@aldrichlaw.net

I also request that you direct Schwab’s counsel to inform any judge or arbitrators before

whom any legal action is filed or pending, that 1 am represented by the abave
counsel.

Thank you.
Sincerely,

» h-~357
Lane, Me bone

RECEIVED TIME JUN. 12. 9:54AM

 
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Charles SCHWAB

Office of Corporate Counsel
101 Montgomery Street San Francisco CA 94104

tel (415) 636 7000 Direct Line (415) 636-3763

Facsimile (415) 636-5304

June 11, 2008
VIA UPS

Mr. Lance McMurry
1952 Isla De Palma Circle
Naples, FL 34119

Dear Mr. McMurry:

This letter is a reminder of your contractual obligations pursuant to your Confidentiality,
Non-Solicitation and Assignment Agreement with Schwab.

A copy of the most recent Confidentiality, Non-Solicitation and Assignment Agreement
signed by you on May 2, 2008 is enclosed for your reference. In the agreement, you
acknowledged that as a Schwab employee you would be given access to certain confidential and
proprietary information belonging to Schwab, including information relating to Schwab
customers, In return for your employment and this access, you agreed to maintain such
information in the strictest confidence and not to divulge it or use it for your own benefit, or for
the benefit of anyone other than Schwab.

Please note that paragraph 2 of the Agreement defines “Confidential Information” to
include, among other things, “names, addresses, phone numbers, email addresses, account
numbers or financial information pertaining to Schwab clients or prospective
clients;...information sufficient to identify clients, vendors, or personnel; [and] client, vendor or
personnel lists, contact, account and related information.” In paragraph 1, you agreed to not “use
or disclose any Confidential Information... after [your] employment with Schwab.”

Furthermore, in paragraph 4 you agreed as follows: “I will not remove any Schwab
property, including any Confidential Information and/or Intellectual Property, in original or
copied form, in either electronic or hardcopy form, except as required for me to carry out my job
duties while employed by Schwab. Upon termination of my employment with Schwab for any
reason. .., I will immediately return to Schwab all Schwab property and documents, including but
not limited to Confidential Information....”

Paragraph 3 precludes solicitation of Schwab’s clients for a period of eighteen (18)
months.

Now that you are no longer employed by Schwab, contacting, soliciting or attempting to
solicit Schwab’s existing and prospective customers would violate your Agreement with
Schwab. The contractual provisions cited above make clear that you may not use the names and
telephone numbers of Schwab’s customers for any purpose, including without limitation, for

Charnes Schwab & Co, Inc. Member. SIPC

 
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June 11, 2008
Page 2

Charles SCHWAB

contacting Schwab’s customers to inform them of your new employment. Even if you were to
recreate Schwab’s customer list from memory, or with the aid of a publicly available source
(such as a telephone book), you would be using your knowledge of Schwab’s Confidential
Information (as that term is defined in your Agreement) in violation of your contractual
obligations.’ Moreover, initiating contact with Schwab’s customers constitutes a violation of the
non-solicitation restrictions set forth in paragraph 3 of your Agreement.”

Accordingly, Schwab requires that you refrain from sending any letters, information or
documentation to Schwab’s existing and prospective customers or contacting them by telephone,
fax, mail, email or in person. Pursuant to paragraph 4 of your Agreement, Schwab also demands
that you immediately retum to Schwab all proprietary or confidential documents in your
possession relating to Schwab’s business or its customers, including but not limited to any lists
of customer names and addresses, computer screen printouts, and calendars or day-timers
containing the names, addresses, email addresses, or telephone numbers of Schwab customers.
Further, Schwab requires that you remove any such confidential information stored on your
personal cell phone, Blackberry, personal data assistant or computer.

Schwab expects your full compliance with this letter and with the terms of your
Confidentiality Agreement, and will be monitoring this situation to ensure your compliance. If
you have any questions about this matter, please do not hesitate to contact me.

Very truly yours,

Mat Klaassen

Corporate Counsel

Charles Schwab & Co., Inc.
Enclosure

 

' See ¢.g., Al Minor & Associates v, Martin, 117 Ohio St. 3d 58, 63 (2008) (“The widely accepted rule is
that memorization is no defense, and that unauthorized asportation of data in one’s head is no more proper
than taking it on paper or in electronic form.”) (quoting James Pooley, Trade Secrets (7th Ed.2001) 6-14,
Section 6.02[2][c}). .

” See e.g., Merrill Lynch v. Schultz, 2001 WL 1681973 at *3 (2001 D.D.C.) (“The Court is unpersuaded
by the subtle distinction the defendant attempts to draw in this case between his action, which he labels an
announcement, and solicitation, which is prohibited by his contract with Merrill Lynch. It is a distinction
without a difference in this case, Even if the defendant merely calls his clients and states that he has
resigned from Merrill Lynch and now works for Dean Witter, the Court finds that his initiation of targeted
contact through the use of client information gained through his employment with Merrill Lynch
constitutes prohibited solicitation, Despite the “announcement” label the defendant places on it, such
initiated, targeted contact is tantamount to solicitation because there is no reason to believe that a
customer on the receiving end of such a phone cal! does not assume that the broker wishes for him to
transfer his account.”).

Charles Schwab & Ca,, Inc. Member SIPC,
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CHARLES SCHWAB CONFIDENTIALITY, NONSOLICITATION, AND
INTELLECTUAL PROPERTY OWNERSHIP AGREEMENT 2008 (Simplified
Confidentiality Agreement - Rev. 3/08)

CONFIRMATION PAGE

Confirmation of Agreement to and Signature on Confidentiality, Nonsolicitation and Assignment Agreement.

This is your Confirmation of your clectronic agreement to the Confidentiality, Nonsolicitation and Assignment
Agreement. You may print this copy and record of our agreement and retain it for your records.

To PRINT this page, simply click the PRINT BUTTON on your browser.

Employee: Lance Mcmurry

Employee ID: 07096

Employee Logon: us\lance.mcmurry

Employee Email: Lance.Memurry@schwab.com
Employee Telephone; +1(239)436-1552
Employee Manager: Joe Lacagnina

Date of Electronic Signature: 05/02/2008 21:30:53 PM EST

1 AM ENTERING INTO THIS AGREEMENT IN CONSIDERATION FOR my
initial or continued at-will employment with Charles Schwab & Co., Inc., its parent
company and/or its subsidiaries, affiliates, joint venturers, and successors (collectively,
"Schwab"), and the compensation and other benefits I receive from Schwab, including
my participation in bonus and incentive compensation plans for which | am eligible.
Acknowledging the receipt and adequacy of this consideration, and intending to be
legally bound, I agree as follows:

a. that I will maintain the confidentiality of all Confidential Information and
Intellectual Property, as defined below, that I develop or obtain while I work at
Schwab;

b. that Schwab owns all Confidential Information and Intellectual Property, and that
I will not assert any claim to the Confidential Information and/or Intellectual
Property; and

c. that I will not solicit or encourage Schwab's employees or Schwab's current or
prospective clients to leave Schwab.

The scope of these obligations, and some of the possible consequences for breaching
them, are described in more detail below.

1. Protection of Schwab's Confidential Information and Intellectual Property.
While working at Schwab, I will develop and/or have access to Schwab's
Confidential Information and/or Intellectual Property, as defined in Paragraph 2. I
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acknowledge that Confidential Information and Intellectual Property is the
exclusive property of Schwab, its business partners, licensors, and/or clients, and ]
agree not to assert any claim to it. Except as permitted in Paragraph 7, I agree not
to use or disclose any Confidential Information and/or Intellectual Property during
or after my employment with Schwab.

. What is Schwab Confidential Information and Intellectual Property?

“Confidential Information" is all information learned during my employment that
is not generally known to the public at the time it is made known to me. It
includes, but is not limited to: "Trade Secrets" and "Developments," as defined
below; names, addresses, phone numbers, email addresses, account numbers or
financial information pertaining to Schwab clients or prospective clients;
proprietary software designs and hardware configurations; proprietary
technology; business methods or strategies; new product and service ideas;
marketing, financial, research and sales data; information sufficient to identify
clients, vendors, or personnel; client, vendor or personnel lists, contact, account
and related information; and all information Schwab treats or is obligated to treat
as confidential, privileged, or for internal use only, whether or not owned by
Schwab. "Trade Secrets" is any information that (i) has economic value from not
being generally known to, and not being readily ascertainable through proper
means by, other persons who can obtain economic value from its use; and (i)
Schwab takes reasonable steps to protect as secret. "Intellectual Property" is
Schwab's copyrighted materials, trademarks, service marks, logos, patents, Trade
Secrets, and other intellectual property and proprietary rights.

. Agreement Not to Solicit. While I work for Schwab and for 18 months after my

employment ends, I will not directly or indirectly solicit or induce: (a) any
existing or prospective Schwab clients I serviced or about whom I gained
Confidential Information (other than those listed in Exhibit A) in an attempt to
divert, transfer, or otherwise take away business or prospective business from
Schwab; and/or (b) any Schwab employee or contingent worker to leave his or her
employment or engagement with Schwab.

. Removal and Return of Schwab Property. I will not remove any Schwab

property, including any Confidential Information and/or Intellectual Property, in
original or copied form, in either electronic or hardcopy form, except as required
for me to carry-out my job duties while employed by Schwab. Upon termination
of my employment with Schwab for any reason, my acceptance of other
employment, or at Schwab's request, I will immediately return to Schwab all
Schwab property and documents, including but not limited te Confidential
Information and/or Intellectual Property; any Schwab-issued credit cards, security
badges, keys and Secure ID tokens; and all Schwab-issued electronic and
telephonic equipment including but not limited to computers, mobile phones,
personal data assistants, CD-ROMs, DVDs, floppy disks, Zip drives, USB storage
devices, flash drives, memory cards, or other electronic devices ("Electronic
Devices").
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5. Obligation to Protect Confidential Information and Intellectual Property. |
wili promptly notify Schwab if 1 become aware of or suspect any unauthorized
use or disclosure of Confidential Information and/or Intellectual Property by me
or anyone else, whether intentional or accidental.

6. Schwab's Ownership of Intellectual Property "Developments."

a. Disclosure of Developments While Employed by Schwab. I will
promptly disclose in confidence to Schwab all inventions, improvements,
designs, original works of authorship, and processes, including but not
limited to all computer software programs and databases, whether or not
protected or capable of protection under intellectual property or other
laws, as well as all works based upon, derived from, reduced from,
collecting, containing or making use of any of the foregoing or of any
other Confidential Information or Intellectual Property of Schwab
(collectively, "Developments") that I create, make, conceive, implement,
or first reduce to practice, either alone or with others, while J am
employed by Schwab, and: (a) result from any work I perform for Schwab,
whether or not in the normal course of my employment or during normal
business hours; (b) reasonably relate to the actual or anticipated business,
research or development of Schwab; or (c) are developed with the use of
Schwab resources, facilities, Confidential Information and/or Intellectual

Property.

b. Help in Confirming Ownership. I must promptly disclose Developments
to Schwab whether or not the Developments are patentable, copyrightable,
or protectable as Trade Secrets, I agree all Developments will be the
exclusive property of Schwab, and I irrevocably assign to Schwab all
rights, title, and interest | may have or acquire in and to the Developments
and the right to secure registrations, renewals, reissues, and extensions in
the Developments. I will sign any documents and do all things necessary,
whether during my employment or after, to assist Schwab to register,
perfect, maintain and enforce Schwab's rights in any Developments,
without any additional compensation. If fail or refuse for any reason to
sign any document Schwab requires to perfect its ownership of the
Developments, I appoint Schwab as my attorey-in-fact (this appointment
to be irrevocable and to be a power coupled with an interest) to act on my
behalf and to execute all such documents.

c. State Laws Relating to Ownership of Developments. I understand if]
am or become a California resident while employed by Schwab, then this
Paragraph 6 will not apply to any Developments which fully qualify under
Section 2870 of the California Labor Code, attached as Exhibit B to this
Agreement. To the extent other similar laws may apply to residents of
other states, the terms of Paragraph 6 shall be limited solely to the extent
provided by the applicable laws of such states.
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7.

10.

d. Pre-Existing Intellectual Property. To the extent I have any pre-existing
patent, trademark, or copyright registrations, I have listed them in Exhibit
C. I understand Schwab does not want to use any other person's
intellectual property unlawfully. I agree to indemnify and hold Schwab
harmless against any liability, and pay any loss or expense Schwab incurs,
arising out of any claim that I misappropriated or infringed proprietary _
rights of a former employer or any other third party.

Permissible Disclosure of Confidential Information and/or Intellectual
Property. I can only use or disclose Confidential Information and/or Intellectual
Property to the extent: (a) necessary to perform my job duties at Schwab; (b) I
receive advance written permission from an authorized senior or executive officer
of Schwab; (c) I am legally compelled by subpoena or other legal process to
disclose the Confidential Information and/or Intellectual Property, subject to the
procedures in Paragraph 9; or (d) disclosure is sought by a government entity,
regulatory agency, or self regulatory organization, subject to the procedures in
Paragraph 9. I understand that Schwab's policy prohibits departing employees
from taking client lists and account information.

Questions About Confidential Information and/or Intellectual Property. If 1
am unsure whether information is Confidential Information and/or Intellectual
Property, I will treat it as Confidential Information and/or Intellectual Property
unless I receive advance written permission from an authorized senior or
executive officer of Schwab.

Subpoenas and Other Legal Requests for Disclosure. I will give Schwab
prompt notice in writing before disclosing any Confidential Information and/or
Intellectual Property under Paragraph 7 subsections (c) and (d). If Schwab does

not obtain an order preventing the disclosure, I agree to disclose only that

Confidential Information and/or Intellectual Property that I am legally compelled
to disclose and to exercise reasonable efforts to ensure that the Confidential
Information and/or Intellectual Property will be treated confidentially.

Discovery and Injunctive Relief. In the event I violate, or Schwab reasonably
believes I am about to violate, this Agreement, I agree Schwab is entitled to
injunctive relief to prevent the violation(s) and/or preserve the status quo. I agree
that in any proceeding alleging breach of this Agreement, each party shall have
the right to engage in deposition and document discovery, and Schwab shall have
the right to conduct forensic examination(s) of Electronic Devices in my
possession or control, if Schwab reasonably believes such devices contain
Confidential Information and/or Intellectual Property. I further agree that in
connection with any application for injunctive relief, discovery shall be conducted
on an expedited basis. If any dispute under this Agreement is arbitrable, then I
understand my agreement to engage in discovery as outlined in this paragraph is
an essential term of my arbitration agreement with Schwab, and these provisions
are intended to supplement and modify any applicable arbitration rules.
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11.

12.

Liquidated Damages. If I solicit clients or employees in violation of Paragraph 3,
and/or use or disclose Confidential Information relating to clients and/or their
accounts in violation of Paragraph 1, I understand Schwab will suffer damages
that may be difficult to quantify at the time of the violation, including, but not
limited to: costs associated with investigating, monitoring, or remedying the
misuse of Confidential Information; costs associated with maintaining, restoring
or repairing Schwab's relationship with current and prospective clients; revenue
lost from client assets diverted or transferred; costs associated with replacing
employees, including recruiting, hiring and training replacement employees, and
lost productivity. Therefore, if I violate Paragraph 3, and/or Paragraph | relating
to clients and/or their accounts, I agree to pay Schwab the following liquidated
damages: (a) four percent (4%) of any client assets diverted from Schwab for any
client who was solicited and/or whose Confidential Information was used or
disclosed; and/or, (b) seventy-five percent (75%) of the most recent full year's
total annual compensation paid by Schwab to each employee solicited or induced
to leave his or her employment. I agree that these formulas represent reasonable
estimates of the compensatory damages that Schwab will incur as a result of
violations of Paragraph 3 and/or Paragraph | relating to clients and/or their
accounts, and are not a penalty. These liquidated damages are in addition to any
other non-compensatory relief that Schwab may be entitled to, including but not
limited to injunctive relief and/or punitive damages.

General Provisions. I agree that if Schwab or I bring an action to enforce any
provision of this Agreement, the prevailing party shall be entitled to attorneys’
fees and costs to enforce such claim. If any provision of this Agreement is found
to be invalid or unenforceable, I agree that such provision should be deemed
modified to the extent necessary to make it enforceable. If a court or arbitration
panel declines to amend the provision to make it enforceable, then the remaining
provisions of this Agreement shall remain in full force and effect. The terms of
this Agreement and any disputes arising out of it shall be governed by, and
construed in accordance with, the laws of the state in which I was last employed
by Schwab, without giving effect to such state's conflict of law principles. I agree
that this Agreement supplements any prior agreements I have with Schwab, all of
which remain in full force and effect.

 

EXHIBIT A
List of family members and other relatives (identified by familial status) and individuals
or entities to whom I provided financial services prior to joining Schwab:

X click here to electronically inital Exhibit A

EXHIBIT B
California Labor Code Section 2870
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a. Any provision in an employment agreement which provides that an employee
shall assign, or offer to assign, any of his or her rights in an invention to his or her
employer shall not apply to an invention that the employee developed entirely on
his or her own time without using the employer's equipment, supplies, facilities,
or trade secret information except for those inventions that either:

1. Relate at the time of conception or reduction to practice of the invention to
the employer's business, or actual or demonstrably anticipated research or
development of the employer; or

2. Result from any work performed by the employee for the employer.

b. To the extent that a provision in an employment agreement purports to require an
employee to assign an invention otherwise excluded from being required to be
assigned under subdivision (a), the provision is against the public policy of this
state and is unenforceable.

X click here to electronically inital Exhibit B

 

EXHIBIT C
Pre-Existing Intellectual Property Registrations:

X click here to electronically inital Exhibit C

Signature

I represent that I am the individual indicated in the "Work Contact Information" section
in the upper left hand corner of this screen, that I accessed this screen by logging in to the
Schwab network and using my unique password, and that I have not shared my password
with anyone.

By clicking "I Agree" below ] am creating a binding contract with Schwab, just as
enforceable as if it were a handwritten signature.

I Agree
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FISHER & PHILLIPS LLP

ATTORNEYS AT LAW Philadelphia

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Via Telecopier Via Telecopier

Peter J. Aldrich, Esquire David Brodie, Esquire

100 Village Square Crossing, Suite 201 Weisman, Brodie, Starr & Margolies, P.A.
P.O. Box 32699 1301 N. Federal Highway

Palm Beach Gardens, FL 33420 Lake Worth, FL 33460

Re: Post Employment Obligations of Lance McMurry
Dear Messrs. Aldrich and Brodie:

This firm has been retained to represent Charles Schwab & Co., Inc. (“Schwab”) in all
matters concerning Lance McMurry’s post-employment obligations to Schwab. Mr. McMurry is
a former Schwab employee who is now employed by Banc of America Investment Services, Inc.
(“BOA”) in its Naples office.

In connection with his employment at Schwab, Mr. McMurry executed a
Confidentiality, Nonsolicitation and Assignment Agreement (the “Agreement”). Of course, this
likely came as no surprise, since you and BOA are aware from past direct experience that
Schwab registered representatives ail sign such agreements.

 

Mr. McMurry’s Agreement prohibits him from directly or indirectly soliciting or
inducing Schwab’s customers to transfer their business. Specifically, the Agreement provides:

3. Agreement Not to Solicit. While I work for Schwab and
for 18 months after my employment ends, I will not directly or
indirectly solicit or induce: (a) any existing or prospective Schwab
clients I serviced or about whom I gained Confidential Information
(other than those listed in Exhibit A) in an attempt to divert,
transfer, or otherwise take away business or prospective business
from Schwab; and/or (b) any Schwab employee or contingent
worker to leave his or her employment or engagement with
Schwab,

Atlanta « Charlotte - Chicago - Columbia - Dallas - Denver - Fort Lauderdale - Houston : Irvine - Kansas City
Las Vegas - New Jersey - New Orleans « Orlando - Philadetphla - Portland : San Diego - San Francisco - Tampa
Philadelphia 14228.1

 
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- Confidentiality, Nonsolicitation and Assignment Agreement.
Mr. McMurry’s Agreement further precludes him from using or disclosing Schwab’s

confidential or proprietary information, including Schwab client names, addresses, phone
numbers and email addresses. Specifically, sections 1, 2 and 4 of the Agreement provide:

1. ..1 agree not to use or disclose any Confidential
Information and/or Intellectual Property during or after my
employment with Schwab.

2. What is Schwab Confidential Information and
Intellectual Property? “Confidential Information” is all
information learned during my employment that is not generally
known to the public at the time it is made known to me. It
includes, but is not limited to: “Trade Secrets” and
“Developments,” as defined below; names, addresses, phone
numbers, email addresses, account numbers or _finaricial
information pertaining to Schwab clients or prospective clients;
proprietary software designs and hardware configurations;
proprietary technology; business methods or strategies; new
product and service ideas; marketing, financial, research and sales
data; information sufficient to identify clients, vendors, or
personnel; client, vendor or personnel lists, contact, account and
related information; and all information Schwab treats or is
obligated to treat as confidential, privileged, or for internal use
only, whether or not owned by Schwab. “Trade Secrets” is any
information that (i) has economic value from not being generally
known to, and not being readily ascertainable through proper
means by, other persons who can obtain economic value from its
use; and (ii) Schwab takes reasonable steps to protect as secret.
‘Intellectual Property” is Schwab’s copyrighted materials,
trademarks, service marks, logos, patents, Trade Secrets, and other
intellectual property and proprietary rights.

* * *

4, Removal and Return of Schwab Property. I will not
remove any Schwab property, including any Confidential
Information and/or Intellectual Property, in original or copied
form, in either electronic or hardcopy form, except as required for
me to carry out my job duties while employed by Schwab. Upon
termination of my employment with Schwab for any reason, my

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acceptance of other employment, or at Schwab’s request, I will
immediately return to Schwab all Schwab property and documents,
including but not limited to Confidential Information and/or
Intellectual Property; any Schwab-issued credit cards, security
badges, keys and Secure ID tokens; and all Schwab-issued
electronic and telephonic equipment including but not limited to
computers, mobile phones, personal data assistants, CD-ROMs,
DVDs, floppy disks, Zip drives, USB storage devices, flash drives,
memory cards, or other electronic devices (“Electronic Devices”).

Unfortunately, Schwab has reason to believe that Mr. McMurry has violated, and will
continue to violate, the contractual obligations set forth above. Schwab has received reports
from customers indicating that Mr. McMurry has been contacting them by telephone in an effort
to induce them to transfer their business to BOA. This is a direct violation of his Agreement
with Schwab.

In addition, although Mr. McMurry’s resignation letter states that he is not in possession
of any “Schwab records,” his Agreement prohibits the use or disclosure of Schwab’s confidential
information, specifically including the “names, addresses, phone numbers, email addresses,
account numbers or financial information pertaining to Schwab clients”. Accordingly, whether
or not Mr. McMurry has retained any actual records from Schwab, his use of Schwab’s customer
information to contact customers constitutes a misappropriation of its confidential and trade
secret customer information and a breach of his Agreement.

Please be aware that the Schwab financial advisors who are now servicing clients
formerly serviced by Mr. McMurry have been instructed to inform any client who asks that Mr.
McMurry is now working for BOA in its Naples office. Therefore, there is no need for Mr.
McMurry to contact Schwab’s customers to let them know where he has moved.

Moreover, any action by BOA to accept wrongfully misappropriated customer
information onto its premises, or to use or disclose the information to prepare mailings -- or
otherwise aid, induce or permit Mr. McMurry to solicit Schwab customers to transfer their
business to BOA -- would constitute not only a misappropriation of Schwab's trade secret
customer information, but also tortious interference with Schwab’s contractual relationships with
its employees and/or former employees.

Accordingly, demand is hereby made that Mr. McMurry and BOA:
(1) immediately refrain from any further breaches of Mr. McMurry’s Agreement;

(2) immediately identify in writing each entity and individual that has been contacted by
Mr. McMurry or an employee of BOA on his behalf;

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(3) immediately provide me, as Schwab’s representative, with a copy of any mailings
BOA has sent to Schwab’s customers;

(4) immediately commit in writing to refrain from further solicitation of Schwab
customers previously serviced by Mr. McMurry as provided by his Agreement,

(5) immediately retum to me, as Schwab’s representative, all information, documents and
materials, whether in written or electronic form, regarding Schwab’s customers and
confirm in writing that all such information has been returned.

In short, Schwab takes its contractual and statutory rights seriously. We write to seek
immediate assurance, as Mr. McMurry’s counsel and current employer, that you will take steps
to ensure that Mr. McMurry ceases his violations of his Agreement and complies with his post-
employment obligations to Schwab. Your failure to immediately provide the requested
assurances will leave Schwab no choice but to seek appropriate legal and equitable relief.

Very truly yours,

Aun Jb

Susan M. Guerette
For FISHER & PHILLIPS LLP

SMG;jxl

Philadelphia 14228.1
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CHARLES SCHWAB CONFIDENTIALITY, NONSOLICITATION, AND
INTELLECTUAL PROPERTY OWNERSHIP AGREEMENT 2008 (Simplified
Confidentiality Agreement - Rev. 3/08)

CONFIRMATION PAGE

Confirmation of Agreement to and Signature on Confidentiality, Nonsolicitation and Assignment Agreement.

This is your Confirmation of your electronic agreement to the Confidentiality, Nonsolicitation and Assignment
Agreement, You may print this copy and record of our agreement and retain it for your records.

To PRINT this page, simply click the PRINT BUTTON on your browser.

Employee: Lance Mcmurry

Employee ID: 07096

Employee Logon: us\lance.memurry

Employee Email: Lance.Mcmurry@schwab.com
Employee Telephone: +1(239)436-1552
Employee Manager: Joe Lacagnina

Date of Electronic Signature: 05/02/2008 21:30:53 PM EST

I AM ENTERING INTO THIS AGREEMENT IN CONSIDERATION FOR my
initial or continued at-will employment with Charles Schwab & Co., Inc., its parent
company and/or its subsidiaries, affiliates, joint venturers, and successors (collectively,
"Schwab"), and the compensation and other benefits I receive from Schwab, including
my participation in bonus and incentive compensation plans for which | am eligible.
Acknowledging the receipt and adequacy of this consideration, and intending to be
legally bound, J agree as follows:

a. that I will maintain the confidentiality of all Confidential Information and
Intellectual Property, as defined below, that I develop or obtain while I work at
Schwab;

b, that Schwab owns all Confidential Information and Intellectual Property, and that
] will not assert any claim to the Confidential Information and/or Intellectual
Property; and

c. that I will not solicit or encourage Schwab's employees or Schwab's current or
prospective clients to leave Schwab.

The scope of these obligations, and some of the possible consequences for breaching
them, are described in more detail below.

1. Protection of Schwab's Confidential Information and Intellectua] Property.
While working at Schwab, I will develop and/or have access to Schwab's
Confidential Information and/or Intellectual Property, as defined in Paragraph 2. 1
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acknowledge that Confidential Information and Intellectual Property is the
exclusive property of Schwab, its business partners, licensors, and/or clients, and I
agree not to assert any claim to it. Except as permitted in Paragraph 7, J agree not
to use or disclose any Confidential Information and/or Intellectual Property during
or after my employment with Schwab.

2. What is Schwab Confidential Information and Intellectual Property?
"Confidential Information" is all information learned during my employment that
is not generally known to the public at the time it is made known to me. It
includes, but is not limited to: "Trade Secrets" and "Developments," as defined
below; names, addresses, phone numbers, email addresses, account numbers or
financial information pertaining to Schwab clients or prospective clients;
proprietary software designs and hardware configurations; proprietary
technology; business methods or strategies; new product and service ideas;
marketing, financial, research and sales data; information sufficient to identify
clients, vendors, or personnel; client, vendor or personnel lists, contact, account
and related information; and all information Schwab treats or is obligated to treat
as confidential, privileged, or for internal use only, whether or not owned by
Schwab. "Trade Secrets" is any information that (i) has economic value from not
being generally known to, and not being readily ascertainable through proper
means by, other persons who can obtain economic value from its use; and (ii)
Schwab takes reasonable steps to protect as secret. "Intellectual Property" is
Schwab's copyrighted materials, trademarks, service marks, logos, patents, Trade
Secrets, and other intellectual property and proprietary rights.

3. Agreement Not to Solicit, While I work for Schwab and for 18 months after my
employment ends, I will not directly or indirectly solicit or induce: (a) any
existing or prospective Schwab clients I serviced or about whom I gained
Confidential Information (other than those listed in Exhibit A) in an attempt to
divert, transfer, or otherwise take away business or prospective business from
Schwab; and/or (b) any Schwab employee or contingent worker to leave his or her
employment or engagement with Schwab.

4. Removal and Return of Schwab Property. I will not remove any Schwab
property, including any Confidential Information and/or intellectual Property, in
original or copied form, in either electronic or hardcopy form, except as required
for me to carry-out my job duties while employed by Schwab. Upon termination
of my employment with Schwab for any reason, my acceptance of other
employment, or at Schwab's request, I will immediately return to Schwab all
Schwab property and documents, including but not limited to Confidential
Information and/or Intellectual Property; any Schwab-issued credit cards, security
badges, keys and Secure ID tokens; and all Schwab-issued electronic and
telephonic equipment including but not limited to computers, mobile phones,
personal data assistants, CD-ROMs, DVDs, floppy disks, Zip drives, USB storage
devices, flash drives, memory cards, or other electronic devices ("Electronic
Devices").
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5. Obligation to Protect Confidential Information and Intellectual Property. 1
will promptly notify Schwab if 1 become aware of or suspect any unauthorized
use or disclosure of Confidential Information and/or Intellectual Property by me
or anyone else, whether intentional or accidental.

6. Schwab's Ownership of Intelfectual Property "Developments."

a. Disclosure of Developments While Employed by Schwab. I will
promptly disclose in confidence to Schwab all inventions, improvements,
designs, original works of authorship, and processes, including but not
limited to all computer software programs and databases, whether or not
protected or capable of protection under intellectual property or other
laws, as well as all works based upon, derived from, reduced from,
collecting, containing or making use of any of the foregoing or of any
other Confidential Information or Intellectual Property of Schwab
(collectively, "Developments" that I create, make, conceive, implement,
or first reduce to practice, either alone or with others, while I am
employed by Schwab, and: (a) result from any work I perform for Schwab,
whether or not in the normal course of my employment or duzing normal
business hours; (b) reasonably relate to the actual or anticipated business,
research or development of Schwab; or (c) are developed with the use of
Schwab resources, facilities, Confidential Information and/or Intellectual

Property.

b. Help in Confirming Ownership. ! must promptly disclose Developments
to Schwab whether or not the Developments are patentable, copyrightable,
or protectable as Trade Secrets, I agree all Developments will be the
exclusive property of Schwab, and I irrevocably assign to Schwab all
rights, title, and interest I may have or acquire in and to the Developments
and the right to secure registrations, renewals, reissues, and extensions in
the Developments. I will sign any documents and do all things necessary,
whether during my employment or after, to assist Schwab to register,
perfect, maintain and enforce Schwab's rights in any Developments,
without any additional compensation. If fail or refuse for any reason to
sign any document Schwab requires to perfect its ownership of the
Developments, I appoint Schwab as my attorney-in-fact (this appointment
to be irrevocable and to be a power coupled with an interest) to act on my
behalf and to execute all such documents.

c. State Laws Relating to Ownership of Developments. I understand if
am or become a California resident while employed by Schwab, then this
Paragraph 6 will not apply to any Developments which fully qualify under
Section 2870 of the California Labor Code, attached as Exhibit B to this
Agreement. To the extent other similar laws may apply to residents of
other states, the terms of Paragraph 6 shall be limited solely to the extent
provided by the applicable laws of such states.
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10.

d. Pre-Existing Intellectual Property. To the extent I have any pre-existing
patent, trademark, or copyright registrations, L have listed them in Exhibit
C. L understand Schwab does not want to use any other person's
intellectual property unlawfully. I agree to indemnify and hold Schwab
harmless against any liability, and pay any loss or expense Schwab incurs,
arising out of any claim that I misappropriated or infringed proprietary _
tights of a former employer or any other third party. ,

Permissible Disclosure of Confidential Information and/or Intellectual
Property. I can only use or disclose Confidential Information and/or Intellectual
Property to the extent: (a) necessary to perform my job duties at Schwab; (b) I
receive advance written permission from an authorized senior or executive officer
of Schwab; (c) I am legally compelled by subpoena or other legal process to
disclose the Confidential Information and/or Intellectual Property, subject to the
procedures in Paragraph 9; or (d) disclosure is sought by a government entity,
regulatory agency, or self regulatory organization, subject to the procedures in
Paragraph 9. I understand that Schwab's policy prohibits departing employees
from taking client lists and account information.

Questions About Confidential Information and/or Intellectual Property. If]
am unsure whether information is Confidential Information and/or Intellectual
Property, I will treat it as Confidential Information and/or Intellectual Property
unless I receive advance written permission from an authorized senior or
executive officer of Schwab.

Subpoenas and Other Legal Requests for Disclosure. | will give Schwab
prompt notice in writing before disclosing any Confidential Information and/or
Intellectual Property under Paragraph 7 subsections (c) and (d). If Schwab does
not obtain an order preventing the disclosure, J agree to disclose only that
Confidential Information and/or Intellectual Property that 1 am legally compelled
to disclose and to exercise reasonable efforts to ensure that the Confidential
Information and/or Intellectual Property will be treated confidentially.

Discovery and Injunctive Relief. In the event I violate, or Schwab reasonably
believes ] am about to violate, this Agreement, I agree Schwab is entitled to
injunctive relief to prevent the violation(s) and/or preserve the status que. I agree
that in any proceeding alleging breach of this Agreement, each party shall have
the right to engage in deposition and document discovery, and Schwab shall have
the right to conduct forensic examination(s) of Electronic Devices in my
possession or control, if Schwab reasonably believes such devices contain
Confidential Information and/or Intellectual Property. | further agree that in
connection with any application for injunctive relief, discovery shall be conducted
on an expedited basis. If any dispute under this Agreement is arbitrable, then I
understand my agreement to engage in discovery as outlined in this paragraph is
an essential term of my arbitration agreement with Schwab, and these provisions
are intended to supplement and modify any applicable arbitration rules.
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11. Liquidated Damages. If I solicit clients or employees in violation of Paragraph 3,
and/or use or disclose Confidential Information relating to clients and/or their
accounts in violation of Paragraph 1, I understand Schwab will suffer damages
that may be difficult to quantify at the time of the violation, including, but not
limited to: costs associated with investigating, monitoring, or remedying the
misuse of Confidential Information; costs associated with maintaining, restoring
or repairing Schwab's relationship with current and prospective clients; revenue
last from client assets diverted or transferred; costs associated with replacing
employees, including recruiting, hiring and training replacement employees, and
lost productivity. Therefore, if 1 violate Paragraph 3, and/or Paragraph 1 relating
to clients and/or their accounts, I agree to pay Schwab the following liquidated
damages: (a) four percent (4%) of any client assets diverted from Schwab for any
client who was solicited and/or whose Confidential Information was used or
disclosed; and/or, (b) seventy-five percent (75%) of the most recent full year's
total annual compensation paid by Schwab to each employee solicited or induced
to leave his or her employment. I agree that these formulas represent reasonable
estimates of the compensatory damages that Schwab will incur as a result of
violations of Paragraph 3 and/or Paragraph 1 relating to clients and/or their
accounts, and are not a penalty. These liquidated damages are in addition to any
other non-compensatory relief that Schwab may be entitled to, including but not
limited to injunctive relief and/or punitive damages.

12. General Provisions. | agree that if Schwab or ] bring an action to enforce any
provision of this Agreement, the prevailing party shall be entitled to attorneys’
fees and costs to enforce such claim. If any provision of this Agreement is found
to be invalid or unenforceable, I agree that such provision should be deemed
modified to the extent necessary to make it enforceable. If a court or arbitration
panel declines to amend the provision to make it enforceable, then the remaining
provisions of this Agreement shall remain in full force and effect. The terms of
this Agreement and any disputes arising out of it shall be governed by, and
construed in accordance with, the laws of the state in which I was last employed
by Schwab, without giving effect to such state's conflict of law principles. I agree
that this Agreement supplements any prior agreements I have with Schwab, all of
which remain in full force and effect.

 

EXHIBIT A
List of family members and other relatives (identified by familial status) and individuals
or entities to whom I provided financial services prior to joining Schwab:

X click here to electronically inital Exhibit A

EXHIBIT B
California Labor Code Section 2870
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a. Any provision in an employment agreement which provides that an employee
shall assign, or offer to assign, any of his or her rights in an invention to his or her
employer shall not apply to an invention that the employee developed entirely on
his or her own time without using the employer's equipment, supplies, facilities,
or trade secret information except for those inventions that either:

1. Relate at the time of conception or reduction to practice of the invention to
the employer's business, or actual or demonstrably anticipated research or
development of the employer; or

2. Result from any work performed by the employee for the employer.

b. To the extent that a provision in an employment agreement purports to require an
employee to assign an invention otherwise excluded from being required to be
assigned under subdivision (a), the provision is against the public policy of this
state and is unenforceable.

X click here to electronically inital Exhibit B

 

EXHIBIT C
Pre-Existing Intellectual Property Registrations:

X click here to electronically inital Exhibit C

Signature

I represent that I am the individual indicated in the "Work Contact Information" section
in the upper left hand corner of this screen, that I accessed this screen by logging in to the
Schwab network and using my unique password, and that I have not shared my password
with anyone.

By clicking "1 Agree" below I am creating a binding contract with Schwab, just as
enforceable as if it were a handwritten signature.

I Agree
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_Case 1:07-cv-21745-DLG Document 1

 

 

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THE CHARLES SCHAAR CORPORATION |

Code of Business
Concuct and Ethics

 

 

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Our Vision!
Pravice clients.with the most useful and ethical financial
servicas In the world. -

®@ Our Values -”
Be fair, empathetic and responsive in serving our clients.

Respect and reinforce our feliow employees and the power
of tearnwork, ©
Strive relentlessly to innovate what we do arid how we do it

Always earn and be worthy of our clients’ trust,

Sharcholder!Vatue

The company's directors and employees shalt endeavor to act
in the best interests of the company and its stockholders,

e | charles scuwas

 

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a aye.

 
